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                             EXHIBIT 13
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        I, Christopher B. Colwell, under penalty of perjury, declare and state that I am over the
age of 18 and am competent to testify to the matters stated below. I am currently the Chief of
Emergency Medicine at Zuckerberg San Francisco General Hospital and Trauma Center and
Professor and Vice Chair in the Department of Emergency Medicine at the University of California
at San Francisco School of Medicine. I was previously the Chief of Emergency Medicine at Denver
Health Medical Center and Professor and Executive Vice Chair in the Department of Emergency
Medicine at the University of Colorado School of Medicine. I received my Emergency Medicine
training at Denver General Hospital in the Denver Affiliated Residency in Emergency Medicine
and am board certified by the American Board of Emergency Medicine (ABEM) in both Emergency
Medicine and Emergency Medical Services (EMS). I am licensed to practice medicine in the State
of California.
        I have over 30 years of experience treating gunshot wound victims in the Emergency
Department at large urban level I trauma centers and in that time have treated over a thousand
patients with gunshot wounds. I am qualified to offer opinions as to the physiologic trauma
caused by gunshot wounds and other penetrating injuries. I have been retained by the Cook
County State’s Attorney’s Office in this case to provide expert testimony on my experience
treating victims of gunshot wounds, both in the emergency department and in some cases at the
scenes of the injuries, and am being compensated at a rate of $250.00 per hour. A list of my work
history, educational background, and both peer-reviewed and invited publications, including any
publications in the past 10 years, is included in my curriculum vitae, which is attached to this
report.
       I have experienced first-hand the extensive and devastating damage caused by assault
weapons, semi-automatic weapons with detachable magazines and a pistol grip, and I have
witnessed many victims, and on occasion even the shooters themselves, experience the horror
of what these weapons can do. In one instance, a man who had shot his girlfriend with an AR-15
admitted to me he had had no idea how destructive these weapons can be. I have seen the
devastating impact these injuries have had on the lives of my patients and their families. The
majority of the events I have managed that involved more than one victim have involved assault
weapons.
          I have spoken extensively around the country on the experience of caring for victims of
mass shootings and have testified as the treating physician on multiple occasions to describe the
extent of the injuries due to gunshot wounds from all weapons, including assault rifles, in criminal
trials. I was subpoenaed in most of these cases by the prosecuting district attorney and was not
compensated for that testimony. I have attached a list of prior testimony to this report.
       I have extensive experience with the different wounds caused by assault and non-assault
weapons and the consistently more serious nature of the injuries caused by assault weapons and
events in which assault weapons were used. The impact is both on the victims of these
devastating injuries, often with nothing left to repair, and on hospitals and EMS systems as well.
Triaging and treating multiple victims with serious injuries can have significant impacts on the



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medical care not only of those victims, but on so many others as well. Gunshot wounds from
assault weapons, such as AR-15s and AK-47s higher in quantity and complexity with higher
complication rates then injuries from non-assault weapons, increasing the likelihood of morbidity
as well as the difficulty in triaging and managing these injuries.
        The increased likelihood of multiple victims with serious injuries in events that involve
assault weapons increases the impact of healthcare delivery to both the victims of the event and
others that might also require medical attention when these events occur. Many of the events I
have been involved with that have had multiple victims, including Columbine, the Aurora theater
shooting, the UPS shooting, and many others as well, have required implementation of disaster
plans which focus resources on doing the greatest good for the greater number of victims and
potentially limit resources each patient will receive. While we are sorting through multiple
significant wounds, our attention is taken away from others who may also need it. Assault
weapons are far more likely to require us to go into disaster mode and limiting what we can do
for others.
        In my experience, assault weapons tend to cause far greater damage to the muscles,
bones, soft tissue, and vital organs, in a great number of victims. The velocity involved when
these weapons are used is obvious when you see these injuries. Bones are more likely shattered
and soft tissue more likely destroyed. A recent weekend that I worked involved 8 shooting
victims, three of which were the victims of a single shooter with an assault weapon. All victims
of that shooting required management in the operating theater while none of the other injuries
did.
        My first-hand experience treating victims of gunshot wounds includes being the physician
at the scene of the Columbine High School shooting on April 20th, 1999, in which a TEC-DC 9 pistol
and a Hi-Point 995 rifle were used, and as a treating physician in the emergency department at
Denver Health taking care of victims of the Aurora Theater shooting on July 20th, 2012, in which
an AR-15 was used. I have treated many other patients that have been victims, and in some cases
shooters, of assault weapons, including AK-47s and AR-15s, and non-assault weapons as well.
While significant injury can certainly result from non-assault weapons, my experience has been
that patients who have been shot by assault weapons tend to have wounds and injuries that are
far more extensive, requiring more extensive repair or more likely to be unrepairable. One of
many examples of this includes the San Francisco UPS shooting on June 14, 2017 where a
disgruntled employee shot 5 people, 3 fatally. The shooter had a Smith and Wesson Model 459
weapon with him, but chose to use a semi-automatic MAC-10 weapon instead (a weapon
specifically named in the 1994 US assault weapons ban). I have been involved in a number of
disgruntled employee shootings in my career that did not involve assault weapons, but none with
as many victims (5), or fatalities (3). The wounds involved were more extensive and involved
more damage, including several where there was nothing that could be repaired.
      There is no doubt in my mind that victims of assault weapons are at greater risk for
immediate and long-term complications from both the damage the velocity of these bullets



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causes and the number of wounds involved. The fact that multiple victims are often involved
adds to the complexity of managing these cases as triage of multiple potentially serious injuries
is often involved which can lead to delays in transport and treatment while resources are being
used for multiple real or potential victims. When there are more victims with potentially serious
wounds, and/or more wounds that are potentially serious, which there are when assault
weapons are involved, prehospital and hospital providers are often placed in situations where
we have to prioritize limited resources such as transport vehicles, imaging including CT scans, and
operating rooms. These decisions mean limiting availability to some victims that may need them.
These complex and difficult triage decisions are rarely, if ever, necessary when non-assault
weapons are involved. An example of the difference in the injury and consequences assault
weapons can cause was a victim of a Glock handgun who presented to our emergency
department with an elbow wound. We were able to treat his injury and release the patient hours
later. Just three months earlier, I had seen a patient shot in the exact same spot with an AK-47,
and his arm needed to be amputated because of the extensive damage to the bone and soft
tissues that had occurred. This is just one example of the additional damage and destruction
assault weapons can cause which I have witnessed in the course of treating trauma patients and
does not include the added complexity of multiple wounds, which are so often involved in events
when assault weapons are used.
        Assault weapons, especially when equipped with large capacity magazines, can fire more
shots faster, often causing more victims per event and more injuries per victim. I have seen this
time and time again in both Denver and San Francisco. Even when you look beyond the higher
profile events I have been involved with, and look at a typical evening in our emergency
department, you will see the devastation these weapons caused. Not one of the injuries from
assault weapons that I have managed has come in the setting of self-defense. While I have seen
some serious injuries from non-assault weapons, every injury I have seen from assault weapons
has been serious. Many of the most devastating injuries I have managed in my 30 years of treating
gunshot wound victims have involved assault weapons. It is my opinion that while all weapons
pose risk, assault weapons pose a far greater risk to the public from a medical care standpoint.
Pursuant to 28 USC 1746, I declare under penalty of perjury that the foregoing is true and correct.
All opinions contained herein are made pursuant to a reasonable degree of medical certainty.




                                                     Christopher B. Colwell, MD




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                                   Curriculum Vitae
                     Christopher Beall Colwell, M.D


 Current Position:

 Chief, Department of Emergency Medicine
 Zuckerberg San Francisco General Hospital and Trauma Center
 Professor and Vice Chair, Department of Emergency Medicine
 UCSF School of Medicine

 Work Address:

 Zuckerberg San Francisco Hospital and Trauma Center
 Department of Emergency Medicine
 1001 Potrero Ave. #6A02
 San Francisco, CA 94110

 Christopher.Colwell@ucsf.edu
 Phone: (415) 206-2518
 Fax: (415) 206-5818

 Board Certification:

    1) American Board of Emergency Medicine 1997
             Re-certification 2007, 2017
    2) American Board of Emergency Medicine – Emergency Medical Services 2015

 NPI number – 1629092788
 California license – G142756 (active)
 Colorado license – 34341 (not active)
 Michigan license – 4301059401 (not active)


 Education:


 Undergraduate:         University of Michigan
                        Ann Arbor, Michigan
                        Bachelor of Science Degree, 1988

 Medical School:        Dartmouth Medical School
                        Hanover, New Hampshire
                        Medical Doctorate, 1992




                                                           VIRAMONTES 003420
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 Internship:        St. Joseph Mercy Hospital/University of Michigan
                    Ann Arbor, Michigan
                    Transitional Medicine, 1993

 Residency:         Denver Affiliated Residency in Emergency Medicine
                    Denver, Colorado, 1993-1996
                    Chief Resident 1995-1996




 Academic appointments:


       1. Professor and Vice Chair
          Department of Emergency Medicine
          University of California at San Francisco School of Medicine
          2016 - Present

       2. Professor of Emergency Medicine
          Department of Emergency Medicine
          University of Colorado School of Medicine
          2012-2016

       3. Executive Vice Chair, Department of Emergency Medicine, 2010 - 2016
          University of Colorado School of Medicine
          2010-2016

       4. Associate Professor of Emergency Medicine
          Department of Emergency Medicine
          University of Colorado School of Medicine
          2010-2012

       5. Associate Professor of Emergency Medicine
          Division of Emergency Medicine, Department of Surgery
          University of Colorado Health Sciences Center
          2004-2009

       6. Assistant Professor of Emergency Medicine
          Division of Emergency Medicine, Department of Surgery
          University of Colorado Health Sciences Center
          Denver, Colorado
          1998-2004

       7. Assistant Professor of Emergency Medicine




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           Department of Emergency Medicine, University of Michigan School of
           Medicine
           Ann Arbor, Michigan
           1996-1998


 Clinical appointments:


    1. Chief of Emergency Medicine, 2016-present
       Department of Emergency Medicine
       Zuckerberg San Francisco General Hospital and Trauma Center
       San Francisco, California

    2. Director of Emergency Medicine, 2010 – 2016
       Interim Director of the Department of Emergency Medicine, 2009-2010
       Associate Director, 2000-2009
       Attending Physician, 1998-2016
       Department of Emergency Medicine
       Denver Health
       Denver, Colorado

    3. Program Director, EMS Fellowship
       2002-2010

    4. Medical Director, Denver Paramedic Division
       2000-2010

    5. Medical Director, Denver Fire Department
       2000-2010

    6. Associate Director, Denver Paramedic Division
       1998-2000

    7. Senior Associate Director, Denver Health Residency in Emergency Medicine
       2009 - 2016

    8. Attending Physician, 1996-1998
       St. Joseph Mercy Hospital/University of Michigan
       Ann Arbor, Michigan


 Fellow Appointments:

       1. Fellow - American College of Emergency Physicians (FACEP)
              a. 1999-present




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       2. Fellow – Academy of Emergency Medical Services (FAEMS)
              a. 2021-present




 Honors and Awards:       2022 NAEMSP President’s Award – For tireless
                          leadership and inspiring scholarship as an editor of the
                          2022 NAEMSP Compendium of Airway Management
                          Position Statements and Resource Documents

                          2020-2021 Outstanding Resident Teaching Award
                          Department of Obstetrics, Gynecology, and
                          Reproductive Services, University of California, San
                          Francisco

                          2020 ACEP National Emergency Medicine Faculty
                          Teaching Award

                          2017-2018 Quarterly Resident Bedside Teaching Award
                          UCSF Department of Emergency Medicine

                          Outstanding Contributions - Best Authors in Adult
                          Emergency Medicine
                          UpToDate – Wolters Kluwer
                          March, 2017

                          2016 Career Service Award
                          Denver Health and Hospital Association
                          Medical Staff Awards
                          September 21st, 2016

                          The Peter Rosen Leadership Award
                          Presented by the 2016 Emergency Medicine Residency
                          at Denver Health for Outstanding Departmental
                          Leadership
                          June 27th, 2016

                          2016 Financial Vitality Pillar Award
                          For largest increase in charges and revenue while
                          maintaining same cost
                          June 9th, 2016

                          Best Attending Lecture of the Year




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                          In recognition of outstanding educational performance
                          Denver Health Paramedic School Class of 2016

                          Meritorious Service Award
                          Presented by the Colorado Chapter of the American
                          College of Emergency Physicians for Achievements that
                          have Enhanced Colorado’s Health Care System and the
                          Profession of Emergency Medicine in Colorado.
                          January 20th, 2015




                          2015 Patient Safety and Quality Pillar Award
                          For meticulous, high-quality, and thoughtful design and
                          implementation of Denver Health’s Ebola Preparedness
                          Plan
                          June, 2015

                          The Corey M. Slovis Award for Excellence in
                          Education. U.S. Metropolitan Municipalities EMS
                          Medical Directors Consortium, February, 2015


                          Positively Collaborative Award for outstanding
                          collaboration towards the improvement of Colorado’s
                          trauma system. Trauma Program, Colorado
                          Department of Public Health and Environment,
                          January, 2012


                          The Vincent J. Markovchick Program Director’s
                          Award 2011

                          Distinctive Service Award – Denver Paramedic Division
                          2010

                          Chief Executive Officer Special Commendation Award
                          for expert medical leadership of Denver’s 911 system,
                          2009

                          Mayor’s Award of Appreciation for assistance and aid
                          to Hurricane Katrina evacuees. 2005

                          Ernest E. Moore Award for Outstanding Contributions
                          in Trauma Care, 2000




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                            Outstanding Senior Resident, 1996

                            Chief Resident, Emergency Medicine Residency, 1995-
                            1996



 Membership in professional organizations:

     1. American College of Emergency Physicians (ACEP), 1994-present
           a. Fellow, 1999-present
           b. California ACEP, 2016-present
           c. Colorado ACEP, 1993-1996, 1998-2016
           d. Michigan ACEP, 1996-1998
     2. American Medical Association (AMA), 1993-2000, 2006-present
     3. National Association of EMS Physicians (NAEMSP), 2002-present
           a. FAEMS designation – 2021 to present
     4. Society for Academic Emergency Medicine (SAEM), 1995-2000, 2008-present
     5. Emergency Medicine Residents Association (EMRA), 1992-1997




 Major Committee, Teaching, and Service Responsibilities:

        1. Associate Editor, Trauma and EMS sections. EMRAP/CorePendium
           Emergency Medicine Textbook
        2. COVID Vaccine Speakers Group member – delivered talks addressing
           concerns and questions from vulnerable populations on the COVID-19
           vaccine across the country (virtually)
        3. UCSF Ad Hoc Committee for Faculty Misconduct Investigations, Standing
           Panel. 2019 – 2022
        4. Admissions Interview Committee – UCSF School of Medicine, Office of
           Admissions, 2018 – present
        5. American Board of Emergency Medicine (ABEM) Oral Board Examiner
                   • October 8-11, 2016
                   • October 14-17, 2017
                   • October 13-16, 2018
                   • October 5-8, 2019
                   • December 15-18, 2020
                   • April 21-24, 2021
                   • December 8-11, 2021
                   • May 18-21, 2022
        6. San Francisco Pride Parade - Medical Coverage (with San Francisco Fire
           Department). June 30th, 2019




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        7. Medical Executive Committee, Zuckerberg San Francisco General Hospital
            and Trauma Center. 2016-present
        8. ZSFG CPG Board of Directors. 2016-present
        9. UCSF Department of Emergency Medicine Incentive Review Committee.
            2016 – present
        10. Zuckerberg San Francisco General Hospital and Trauma Center Trauma Peer
            Review Committee. 2016-present
        11. Board of Directors, American College of Emergency Physicians – Colorado
            Chapter, 2007-2011
        12. Conference Director, Annual Rocky Mountain Conference in Trauma and
            Emergency Medicine, 2003 – 2016
        13. American Board of Emergency Medicine (ABEM) Oral Board Examiner,
            2011 - present
        14. Course Director, Introduction to Traumatic Emergencies, (SURG 6623)
            University of Colorado School of Medicine, 1999
                a. A course for second year medical students that introduces the student
                    to selected traumatic emergencies and their management
        15. Course Director, Prehospital Medicine (SURG 6626), University of Colorado
            at Denver School of Medicine, 2005-2016
                a. A course for first and second year medical students that introduces
                    them to prehospital medicine and includes clinical time riding on an
                    ambulance
        16. Course Director, Flight Medicine (SURG 6628), University of Colorado at
            Denver School of Medicine, 2009-2016
                a. A course for second year medical students (SURG 6626 is a pre-
                    requisite) that introduces the student to flight medicine and includes
                    clinical time riding in a helicopter as well as fixed wing airplane
                    transport
        17. Instructor, Introduction to Traumatic Emergencies, (SURG 6623) University
            of Colorado School of Medicine, 1999-2016
        18. Lecturer, Injury Epidemiology and Control (PRMD 6637), University of
            Colorado School of Medicine, 2003
        19. Instructor, Emergency Medicine at Denver Health Medical Center (SURG
            8005), University of Colorado School of Medicine, 1998-2016
        20. Instructor, Integrated Clinicians Course (ICC) 8005: Preparing for Internship:
            Reading and Understanding EKGs
        21. Instructor, Integrated Clinicians Course (ICC) IDPT 7003: Management of
            Trauma, University of Colorado School of Medicine, 2011
        22. Instructor, Integrated Clinicians Course (ICC) IDPT 7004: Management of
            Trauma, University of Colorado School of Medicine, 2010. Lecturer and
            small group leader
        23. Instructor, Integrated Clinicians Course (ICC) IDPT 7004: Management of
            Trauma, University of Colorado School of Medicine, 2009. Lecturer and
            small group leader
        24. Member, Medical Staff Executive Committee, 2009-present




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        25. Member, Denver Health Executive Committee for Patient Safety and Quality,
            2006-2016
        26. Council Member, Colorado’s Mile High Regional Emergency and Trauma
            Advisory Council (RETAC), Denver County appointed representative, 2000-
            2016
        27. Committee chair, Destination and Diversion committee, Mile High RETAC
            2002-2016
        28. Member, State EMS Formulary Task Force, 2006 – 2009
        29. Member, Pediatric Trauma Committee, 2006-present
        30. Member, Rocky Mountain Center for Medical Response (RMCMR), 2002-
            2016
        31. Member, Colorado State Advisory Council on Emergency Medical Services,
            1998-2000
        32. Ute Mountain Ute EMS Program medical director, 1994-1996
        33. Steering Committee member, Denver Health Residency in Emergency
            Medicine, 1998-2016
        34. Denver Health Residency in Emergency Medicine Compliance Committee,
            2006-2014
        35. Pharmacy and Therapeutics Committee member, Denver Health Medical
            Center, 1998-2006
        36. EMS Education committee member, Denver Health Medical Center, 1998-
            2016
        37. Safety Committee member, Denver Health Medical Center, 1998-2001
        38. Residency Advisory Committee, Denver Health Medical Center Residency in
            Emergency Medicine, 1998-2016
        39. Moderator, Case Presentations, Rocky Mountain Critical Care Transport
            Conference, May, 2003
        40. Instructor, Difficult Airway Lab, Rocky Mountain Critical Care Transport
            Conference, May, 2003
        41. Trauma Center Site Surveyor, State of Florida Department of Health and
            Rehabilitative Services, Office of Emergency Medical Services, 2003-present
                a. Trauma site review – 10/23 – 10/25, 2019
        42. Member, Denver EMS Council, 1998-2016
        43. Member, Denver Metro Physician Advisors, 1999-2016
        44. Medical Expert and Faculty, Boulder Trial Academy, International
            Association of Defense Counsel, 1998-2002
        45. Member, Medical Advisory Group (MAG), to the Colorado State EMS
            Director, 2003-2008
        46. Transfusion Committee member, St. Joseph Mercy Hospital, Ann Arbor,
            Michigan. 1996-1998




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 Editorial Positions

        1. Section Editor, Trauma, UpToDate, 2009 - present
        2. Section Editor, Abstracts
           The Journal of Emergency Medicine, 1999-2002
        3. Review Editor, The Journal of Emergency Medicine, 1999-2008
        4. Review Editor, Western Journal of Emergency Medicine, 2008 – 2016
        5. Manuscript reviewer, JAMA Network Open, 2019-present
        6. Manuscript reviewer, Academic Emergency Medicine, 2003 – present
        7. Manuscript reviewer, Critical Care, 2008-present
        8. Manuscript reviewer, Patient Safety in Surgery, 2009-present
        9. Guest Editor, EM International, Prehospital Care


 Publications:

 Peer Reviewed Journal Articles

        1. Shapiro M, Dechert, Colwell C, Bartlett R, Rodriguez: Geriatric Trauma:
            Aggressive Intensive Care Management is Justified. American Surgeon
            1994;60(9):695-8
        2. Colwell C, Pons PT, Blanchet J, Mangino C: Claims Against a Paramedic
            Ambulance Service: A Ten Year Experience. J Emerg Med 1999, 17(6):999-
            1002
        3. Apfelbaum J, Colwell C, Roe E: Precipitous Breech Delivery of Twins: A
            Case Report. Prehospital Emerg Care 2000; 4(1):78-81
        4. Gnadinger CA, Colwell C, Knaut AL: Scuba Diving-Induced Pulmonary
            Edema in a Swimming Pool. J Emerg Med 2001; 21(4):419-421
        5. Houry D, Colwell C, Ott C: Abdominal Pain in a Child after Blunt Abdominal
            Trauma: An Unusual Injury. J Emerg Med 2001; 21(3):239-241
        6. Barton E, Ramos J, Colwell C, Benson J, Bailey J, Dunn W: Intranasal
            Administration of Naloxone by Paramedics. Prehosp Emerg Care 2002; 6:54-
            8
        7. Colwell C, Pons PT, Pi R: Complaints Against an EMS System. J Emerg Med
            2003;25(4):403-408
        8. Colwell C, McVaney K, Haukoos J, Wiebe D, Gravitz C, Dunn W, Bryan T:
            An Evaluation of Out-of-Hospital Advanced Airway Management in an
            Urban Setting. Acad Emerg Med 2005; 12(5):417-22
        9. McVaney KE, Macht M, Colwell CB, Pons PT: Treatment of Suspected
            Cardiac Ischemia with Aspirin by Paramedics in an Urban Emergency
            Medical Services System. Prehospital Emerg Care 2005, 9(3):282-284
        10. Barton E, Colwell CB, Wolfe TR, Fosnocht D, Gravitz C, Bryan T, Dunn W,
            Benson J, Bailey J: The Efficacy of Intranasal Naloxone as a Needleless
            Alternative for Treatment of Opiate Overdose in the Prehospital Setting. J
            Emerg Med 2005;29(3):265-71



                                                             VIRAMONTES 003428
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        11. Levine SD, Colwell CB, Pons PT, Gravitz C, Haukoos JS, McVaney KE:
            How Well do Paramedics Predict Admission to the Hospital? A Prospective
            Study. J Emerg Med 2006;31(1):1-5
        12. Colwell CB: Case Studies in Infectious Disease: Travel-Related Infections.
            Emerg Med 2006;38(10):35-43
        13. Bonnett CJ, Peery BN, Cantril SV, Pons PT, Haukoos JS, McVaney KE,
            Colwell CB: Surge capacity: a proposed conceptual framework. Am J Emerg
            Med 2007;25:297-306.
        14. Colwell C. Initial evaluation and management of shock in adult trauma. In:
            UpToDate, Basow DS (Ed), UpToDate, Waltham, MA, 2007 - present
        15. Bonnett CJ, Colwell CB, Schock T, McVaney KE, Depass C: Task Force St.
            Bernard: Operational Issues and Medical Management of a National Guard
            Disaster Response. Prehospital and Disaster Medicine 2007;22(5):440-447
        16. Colwell CB: Heat Illness. Emerg Med 2008; 40(6): 33-39
        17. Colwell CB, Cusick JC, Hawkes AP and the Denver Metro Airway Study
            Group: A prospective study of prehospital airway management in an urban
            EMS system. Prehosp Emerg Care 2009; 13:304-310
        18. Colwell CB, Mehler P, Harper J, Cassell L, Vazquez J, Sabel A: Measuring
            quality in the prehospital care of chest pain patients. Prehospital Emerg Care
            2009;13:237-240
        19. Kashuk JL, Halperin P, Caspi G, Colwell CB, Moore EE: Bomb explosions in
            acts of terrorism: Evil creativity challenges our trauma systems. J Am Coll
            Surg 2009; 209(1):134-140
        20. Stone SC, Abbott J, McClung CD, Colwell CB, Eckstein M, Lowenstein SR:
            Paramedic knowledge, attitudes, and training in end-of-life care. Prehospital
            Disaster Medicine 24(6):529-34, Nov-Dec 2009.
        21. Gaither JB, Matheson J, Eberhardt A, Colwell CB: Tongue engorgement
            associated with prolonged use of the King-LT laryngeal tube device. Ann
            Emerg Med, 2009. Ann Emerg Med 2010; 55(4):367-9.
        22. Bookman SJ, Eberhardt AM, Gaither JB, Colwell CB: Hospital Group
            Preparation for the 2008 Democratic National Convention. Journal of
            Homeland Security and Emergency Management 2010; Vol. 7: Iss. 1, Article
            16.
        23. Haukoos JS, Witt G, Gravitz C, Dean J, Jackson D, Candlin T, Vellman P,
            Riccio J, Heard K, Kazatomi T, Luyten D, Pineda G, Gunther J, Biltoft J,
            Colwell CB: Out-of-hospital cardiac arrest in Denver, Colorado:
            Epidemiology and outcomes. Acad Emerg Med 2010; 17(4):391-8.
        24. Haukoos JS, Byyny RL, Erickson C, Paulson S, Hopkins E, Sasson C, Bender
            B, Gravitz C, Vogel JA, Colwell CB, Moore EE. Validation and refinement of
            a rule to predict emergency intervention in adult trauma patients. Ann Emerg
            Med 2011;58:164-171
        25. Colwell CB, Eberhardt A. Less Lethal Force. Emergency Medicine Reports
            2011, 32(18):1-12
        26. Soriya G, McVaney KE, Liao MM, Haukoos JS, Byyny RL, Gravitz C,
            Colwell CB. Safety of prehospital intravenous fentanyl for adult trauma
            patients. J Trauma Acute Care Surg 2012;72(3):755-59




                                                                VIRAMONTES 003429
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        27. Gudnik MR, Sasson C, Rea TD, Sayre MR, Zhang J, Bobrow BJ, Spaite DW,
            McNally B, Denninghoff K, Stolz U, Levy M, Barger J, Dunford JV, Sporer
            K, Salvucci A, Ross D, Colwell CB, Turnbull D, Rosenbaum R, Schrank K,
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            Cardiac Arrest in Denver, Colorado. Results from Phase I of the Denver
            Cardiac Arrest Registry. Presented at SAEM Annual Meeting, May 30th,
            2008, Washington D.C.
        10. Kashuk JL, Moore EE, Barnett C, Berlew CC, Colwell CB, Brody A, Johnson
            J, Biffl W, Sabel AL. Implementation of an in-hospital mass casualty
            incident (MCI) plan based upon the Israeli model: The challenges of
            shifting to the battlefield mentality in the civilian setting. International
            Preparedness & Response to Emergencies & Disasters Conference. Tel –Aviv,
            Israel. January 11th, 2010.
        11. Moore EE, Kashuk JL, Colwell CB, Barnett C, Burlew CC, Biffl WL,
            Johnson JL, Brody A, Sabel A. Live victim volunteers (LVV) enhance
            performance improvement for in-hospital mass casualty incident (MCI)
            drills: listen to the patient! International Preparedness & Response to
            Emergencies and Disasters (IPRED). Tel-Aviv, Israel. January 12th, 2010.
        12. Barnett C, Kashuk J, Moore EE, Colwell CB, Johnson JL, Biffl W, Burlew
            CC, Brody A, Sabel A. Notification and Communication: Critical initial
            steps in mass casualty incident drills. International Preparedness & Respons
            to Emergencies and Disasters (IPRED). January 12th, 2010. Tel Aviv, Israel
        13. Colwell CB, Moore EE, Kashuk J, Robinson J, Bookman S. Lessons learned
            from the 2008 Democratic National Convention. International Preparedness
            & Response to Emergencies and Disasters (IPRED). Tel-Aviv, Israel. January
            12th, 2010.
        14. Soriya G, McVaney K, Liao M, Haukoos J, Byyny R, Colwell C. Safety of
            pre-hospital single-dose fentanyl in adult trauma patients. 13th Annual
            Western Regional Society for Academic Emergency Medicine Meeting,
            Sonoma, CA, 2010 (Oral).
        15. Soriya G, McVaney K, Liao M, Haukoos J, Byyny R, Colwell C. Safety of
            pre-hospital single-dose fentanyl in adult trauma patients. Society for
            Academic Emergency Medicine Annual Meeting, Scottsdale, Phoenix, AZ,
            2010 (Poster).
        16. Sasson C, Colwell C, McNally B, Haukoos J. “Associations Between
            Individual-level and Census Tract-level Characteristics and Performance
            of Bystander CPR Among Patients Who Experience Out-of-Hospital




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            Cardiac Arrest.” Oral Presentation American Heart Association November
            2010.
        17. Sasson C, Colwell C, McNally B, Dunford J, Haukoos J. “Using the Cardiac
            Arrest Registry to Enhance Survival to Examine Regional Variation in the
            Utilization of Automated External Defibrillators.” Poster Presentation
            Resuscitation Science Symposium American Heart Association November
            2010.
        18. Macht M, Colwell CB, Mull A, Johnston J B, Shupp A, Marquez KD, Gaither
            J, Haukoos J. “Droperidol versus haloperidol for prehospital sedation of
            acutely agitated patients.” Poster presentation at NAEMSP 2012 Annual
            Meeting, January 2012
        19. Nassel A, Haukoos J, McNally B, Colwell CB, Severyn F, Sasson C. “Using
            Geographic Information Systems and Cluster Analysis to identify
            Neighborhoods with High Out of Hospital Cardiac Arrest Incidence and Low
            Bystander Cardiopulmonary Resuscitation Prevalence in Denver, Colorado.”
            Oral Presentation, Society of Academic Emergency Medicine Annual
            Meeting, May 2012, Chicago, Illinois. Acad Emerg Med 2012 19(4) Suppl.1,
            #513:S271-272
        20. Vogel JA, Arens A, Johnson C, Ruygrok M, Smalley C, Byyny R, Colwell
            CB, Haukoos J. “Prehosptial and Emergency Department Intubation is
            Associated with Increased Mortality in Patients with Moderate to Severe
            Traumatic Brain Injury”. Oral Presentation, Society of Academic Emergency
            Medicine Annual Meeting, May 2012, Chicago, Illinois. Acad Emerg Med
            2012 19(4) Suppl. 1, #517:S273-S274
        21. Vogel JA, Sasson C, Hopkins E, Colwell CB, Haukoos J. “Systems-Wide
            Cardiac Arrest Interventions Improve Neurologic Survival after Out-of-
            Hosptial Cardiac Arrest”. Moderated Poster Presentation, Society of
            Academic Emergency Medicine Annual Meeting, May 2012, Chicago,
            Illinois. Acad Emerg Med 2012 19(4) Suppl. 1, #615:S324
        22. Muramoto S, Colwell C, Mehler P, Bakes K. “Cost analysis of a hospital-
            based violence intervention program: At-risk intervention and mentoring
            program (AIM).” Poster presentation at 25th Annual Interprofessional
            Research and EBP Symposium, March 2014, Denver, CO.
        23. Huang D, Niedzwiecki M, Mercer M, Colwell CB, Mann C, Hsia R. “Poor
            Neighborhoods Have Slower Response and Transport Times”. Oral
            Presentation, National Association of EMS Physicians (NAEMSP) 2017
            Annual Meeting, New Orleans, LA, January 26th, 2017.
        24. Kanzaria HK, Mercer MP, To J, Costa B, Luna A, Bilinski J, Staconis D, Pitts
            M, Dentoni T, Williams T, Singh MK, Colwell CB, Marks JD. “Using Lean
            Methodology to Create a Care Pathway for Low Acuity Emergency
            Department Patients in a Safety-Net Hospital”. Poster presentation, Society
            for Academic Emergency Medicine (SAEM) 2017. Orlando, FL. May 17th,
            2017.
        25. Niedzwiecki M, Huang D, Mercer M, Colwell CB, Mann NC, Hsia RY. “Do
            Poor Neighborhoods Have Slower EMS Times? Oral presentation, Society for
            Academic Emergency Medicine (SAEM) 2017. Orlando, FL, May 18th, 2017.




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        26. Matthay ZA, Kornblith AE, Matthay EC, Sedaghati M, Peterson S, Boeck M,
            Bongiovanni T, Campbell A, Chalwell L, Colwell C, Farrell F, Kim WC,
            Knudson MM, Mackersie R, Li L, Nunez-Garcia B, Langness S, Plevin R,
            Sammann A, Tesoriero R, Stein D, Kornblith LZ. “The DISTANCE Study:
            Determining the Impact of Social Distancing on Trauma Epidemiology
            During the COVID-19 Epidemic-An Interrupted Time-Series Analysis” Oral
            presentation, plenary session, UCSF Research Symposium (Virtual), October
            28th, 2020.
        27. Kim WC, Gelb A, Colwell C, Johnson L, Stein D. “Whole-Body Computed
            Tomography for Trauma Reduces Emergency Department Length of Stay”
            Poster presentation, Trauma Quality Improvement Program (TQIP) 2020
            Scientific Meeting and Training (Virtual), December 9th, 2020.
        28. Bains G, Breyre A, Seymour R, Brown J, Mercer M, Montoy JC, Colwell C.
            “Centralized Ambulance Destination Determination impact on Surge events
            and Level loading”. Lightning rounds presentation, Society for Academic
            Emergency Medicine (SAEM) Virtual Meeting - #SAEM21. May 12th, 2021
        29. Berger D, Wong-Castillo J, Mercer M, Colwell C, Brown J. Alternative
            Destinations: Characterization of EMS Patients Transported to a Field Care
            Clinic During COVID-19. Poster presentation, NAEMSP Research Forum,
            January 12th, 2022, San Diego, California

 Invited Lectures, Presentations, and Visiting Professorships:

        1. Hypertensive Emergencies
           Interdepartmental Grand Rounds, University of Michigan
           Ann Arbor, Michigan, May 1997
        2. Pediatric Meningitis
           Emergency Medicine Grand Rounds, University of Michigan
           Ann Arbor, Michigan, October, 1997
        3. Antibiotic Use in the Emergency Department
           Attending Lecture in Emergency Medicine
           Denver Health Medical Center, Denver, Colorado, October 1998
        4. The Myth of EMS Response Times
           26th Annual Rocky Mountain Trauma and Emergency Medicine Conference
           Breckenridge, Colorado, July 1999
        5. Geriatric Trauma
           26th Annual Rocky Mountain Trauma and Emergency Medicine Conference
           Breckenridge, Colorado, July 1999
        6. Mass Casualty and Disaster Management: The Columbine Shootings
           Multidisciplinary Trauma Conference, Denver Health Medical Center
           Denver, Colorado, September 1999
        7. Mass Casualty and Disaster Management: The Columbine Shootings
           Northeast EMS Conference
           Boston, Massachusetts, September 1999
        8. Mass Casualty and Disaster Management: The Columbine Shootings
           Keynote Address, Winnipeg EMS Conference




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            Winnipeg, Canada, October 1999
        9. Mass Casualty and Disaster Management
            Grand Rounds
            Harvard Medical School and Harvard Affiliated Emergency Medicine
            Residency
            October 26th, 1999
            Boston, Massachusetts
        10. Mass Casualty and Disaster Management: The Columbine Shootings
            Pediatric Emergency Care Conference
            Grand Rapids, Michigan, March 2000
        11. Geriatric Trauma
            Trauma Care Appreciation Day
            Denver, Colorado, May 2000
        12. Mass Casualty and Disaster Management: The Columbine Shootings
            Fifth International Conference on Pediatric Trauma
            Beaver Creek, Colorado, June 2000
        13. Complaints Against EMS
            27th Annual Rocky Mountain Trauma and Emergency Medicine Conference
            Steamboat, Colorado, July 2000
        14. Mass Casualty and Disaster Management: The Columbine Shootings
            Sixth Annual Trauma Symposium, Cleveland Clinic Health System
            Cleveland, Ohio, October 2000
        15. Mass Casualty and Disaster Management: The Columbine Shootings
            EMS TEST Conference
            Columbus, Georgia, October 2000
        16. Myocardial Infarction
            Colorado State EMS Conference 2000
            Breckenridge, Colorado, October 2000
        17. Hypothermia
            Colorado State EMS Conference 2000
            Breckenridge, Colorado, October 2000
        18. Complaints Against EMS
            Colorado State EMS Conference 2000
            Breckenridge, Colorado, October 2000
        19. Hypothermia
            Rocky Mountain Winter Trauma and Emergency Medicine Conference
            Copper Mountain, Colorado, January 2001
        20. Mechanism of Injury
            Grand Rounds, Longmont Community Hospital
            Longmont, Colorado, March 2001
        21. Stabilization of the Trauma Patient
            Trauma Care Appreciation Day, Denver Health Medical Center
            Denver, Colorado, April 2001
        22. Mass Casualty and Disaster Management: The Columbine Shootings
            El Paso EMS Conference
            El Paso, Texas, September 2001




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        23. Mass Casualty and Disaster Management: The Columbine Shootings
            Memorial Medical Center Trauma Conference
            Johnstown, Pennsylvania, October 2001
        24. Mechanism of Injury
            Colorado State EMS Conference 2001
            Breckenridge, Colorado, October 2001
        25. Mass Casualty and Disaster Management: The Columbine Shootings
            Massachusetts EMS Conference
            Worcester, Massachusetts, December 2001
        26. Mass Casualty and Disaster Management: The Columbine Shootings
            Sierra-Cascade Trauma Society
            Crested Butte, CO, February, 2002
        27. Mass Casualty and Disaster Management: The Columbine Shootings
            Emergency Medicine Grand Rounds, University of Massachusetts
            Worcester, Massachusetts, March 2002
        28. Mass Casualty and Disaster Management: The Columbine Shootings
            Multidisciplinary Trauma Conference, Denver Health Medical Center
            Denver, Colorado, March 2002
        29. Mass Casualty and Disaster Management: The Columbine Shootings
            Grand Rounds, Day Kimball Hospital
            Putnam, Connecticut, May 2002
        30. Mass Casualty and Disaster Management: The Columbine Shootings
            Grand Rounds, Legacy Emanuel Hospital & Health Center
            Portland, Oregon, June 2002
        31. Mass Casualty and Disaster Management: The Columbine Shootings
            Trauma Grand Rounds, Scripps Memorial Hospital
            La Jolla, California, September 2002
        32. High Altitude Illness
            Annual Meeting, Sierra Cascade Trauma Society
            Vail, Colorado, January 2003
        33. ALS in Trauma: Should We Even Bother?
            30th Annual Rocky Mountain Trauma and Emergency Medicine Conference
            Breckenridge, Colorado, August 2003
        34. Hypothermia
            30th Annual Rocky Mountain Trauma and Emergency Medicine Conference
            Breckenridge, Colorado, August 2003
        35. Research in EMS
            Grand Rounds, Denver Paramedic Division
            Denver, Colorado September, 2003
        36. High Altitude Illness
            Colorado State EMS Conference 2003
            Keystone, Colorado, October, 2003
        37. Controversies in EMS
            Colorado State EMS Conference 2003
            Keystone, Colorado, October 2003
        38. Hypothermia




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            Sierra Cascade Trauma Society, 2004
            Aspen, Colorado, February 9, 2004
        39. Current Research in Prehospital Care
            Rocky Mountain Critical Care Transport Conference
            Denver, Colorado, May 6th, 2004
        40. Blood Substitutes in the Field
            Clinical Conference on Pre-Hospital Emergency Care, 2004
            Orlando, Florida, July 10th, 2004
        41. Management of Potential C-spine Injuries: Clearance and Beyond.
            31st Annual Rocky Mountain Trauma and Emergency Medicine Conference
            Copper Mtn, Colorado. July 18th, 2004
        41. Mass Casualty and Disaster Management: The Columbine Shootings.
            Grand Rounds, North Colorado Medical Center
            Greeley, Colorado. September 14, 2004
        42. Research in EMS and Trauma
            12th Annual EMS and Trauma Grand Rounds Conference
            Aurora, Colorado. September 15, 2004
        43. Blood Substitutes in the Field: The Prehospital Trials
            2004 Colorado State EMS Conference
            Keystone, Colorado. November 5th, 2004
        44. Cadaver Anatomy Lab: Dissection and Procedure Review on a Human
            Cadaver. Preconference workshop, 2004 Colorado State EMS Conference
            Keystone, Colorado. November 5th, 2004
        45. Prehospital Management of Trauma
            32nd Annual Rocky Mountain Trauma and Emergency Medicine Conference
            Breckenridge, Colorado. June 14th, 2005
        46. Difficult Airway Lecture/Lab
            32nd Annual Rocky Mountain Trauma and Emergency Medicine Conference
            Breckenridge, Colorado. June 15th, 2005
        47. Bleeding Disorders
            32nd Annual Rocky Mountain Trauma and Emergency Medicine Conference
            Breckenridge, Colorado. June 15th, 2005
        48. Travel-Related Infectious Disease
            ACEP Scientific Assembly 2005
            September 28th, Washington D.C.
        49. The Hot Joint
            ACEP Scientific Assembly 2005
            September 29th, Washington D.C.
        50. Mass Casualty and Disaster Management
            Trauma and Critical Care Conference
            San Juan Regional Medical Center, Farmington, New Mexico
            February 18th, 2006
        51. Dialysis Related Emergencies
            33rd Annual Rocky Mountain Trauma and Emergency Medicine Conference
            Breckenridge, Colorado. June 14th, 2006
        52. Show Me Where it Hurts: Pain Management in the Field




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            33rd Annual Rocky Mountain Trauma and Emergency Medicine Conference
            Breckenridge, Colorado. June 15th, 2006
        53. Environmental Emergencies
            2006 Rocky Mountain Rural Trauma Symposium
            September 14, 2006. Billings, Montana.
        54. Drugs of Abuse
            2006 Rocky Mountain Rural Trauma Symposium
            September 15, 2006. Billings, Montana.
        55. Cadaver Anatomy Lab: Dissection and Procedure Review on a Human
            Cadaver. Preconference workshop, 2006 Colorado State EMS Conference
            Keystone, Colorado.
        56. Dialysis-Related Emergencies
            2006 Colorado State EMS Conference
            November 3rd, 2006, Keystone, Colorado
        57. High-Altitude Illness
            2006 Colorado State EMS Conference
            November 3rd, 2006. Keystone, Colorado
        58. Drugs of Abuse
            34th Annual Rocky Mountain Trauma and Emergency Medicine Conference
            Breckenridge, Colorado. June 20th, 2007
        59. Environmental Emergencies
            34th Annual Rocky Mountain Trauma and Emergency Medicine Conference
            Breckenridge, Colorado. June 22th, 2007
        60. Ultrasound Use in the Acutely Traumatized Patient
            Instructor, Ultrasound Workshop
            34th Annual Rocky Mountain Trauma and Emergency Medicine Conference
            Breckenridge, Colorado. June 22th, 2007
        61. Jigawatts: Back to the Future of Electrical Injuries
            American College of Emergency Physicians - Scientific Assembly,
            October 8-11, 2007. Seattle, Washington
        62. What’s Hot, What’s Not: Hypo to Hyperthermia, and All Things in Between
            American College of Emergency Physicians - Scientific Assembly,
            October 8-11, 2007. Seattle, Washington
        63. Environmental Emergencies
            Colorado State EMS Conference, November 8th-11th, 2007
            Keystone, Colorado
        64. Cadaver Anatomy Lab: Dissection and Procedure Review.
            Colorado State EMS Conference 2007 – Pre-conference Workshop
            Keystone, Colorado
        65. Drugs of Abuse
            Colorado Society of Osteopathic Medicine: The Medical “Home
            Improvements” Course. February 24th, 2008
            Keystone, Colorado
        66. Initial Evaluation of the Trauma Patient
            Colorado Society of Osteopathic Medicine: The Medical “Home
            Improvements” Course. February 24th, 2008




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            Keystone, Colorado
        67. Geriatric Trauma
            35th Annual Rocky Mountain Trauma and Emergency Medicine Conference
            June 25th, 2008
            Breckenridge, CO
        68. What’s Hot, What’s Not: Hypo to Hyperthemia and All Things in Between
            ACEP Scientific Assembly 2008, October 28th
            Chicago, Il
        69. Triage Out Debate: Efficient or Unethical?
            ACEP Scientific Assembly 2008, October 28th
            Chicago, Il
        70. Update in EMS Literature: What’s Hot and What’s Not
            ACEP Scientific Assembly 2008, October 29th
            Chicago, Il
        71. Cadaver Disection Lab
            2008 Colorado State EMS Conference, November 6th
            Breckenridge, CO
        72. Geriatric Trauma
            2008 Colorado State EMS Conference, November 7th
            Breckenridge, CO
        73. Lessons Learned from the DNC
            Colorado Front Range MMRS Hospital Response to a Mass Casualty
            Incident, December 8th, 2008
            Denver, CO
        74. Lessons Learned from the DNC
            The EMS State of the Sciences Conference: A Gathering of Eagles 2009
            February 20th, 2009
            Dallas, TX
        75. Nightmare EMS Communications
            The EMS State of the Sciences Conference: A Gathering of Eagles 2009
            February 21st, 2009
            Dallas, TX
        76. Mass Casualty and Disaster Management
            Trauma Perspectives 2009 (4/10/09)
            Durango, CO
        77. Airway Management and Pitfalls
            Trauma Perspectives 2009 (4/10/09)
            Durango, CO
        78. Trauma Management
            Integrated Clinicians Course (ICC) 7004
            University of Colorado at Denver School of Medicine
            May 5th, 2009
        79. EMS Update, 2009
            Grand Rounds, Beth Israel/Deaconess Department of Emergency Medicine
            May 6th, 2009
        80. EMS Update – Panel Discussion




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            36th Annual Trauma and Emergency Medicine Conference
            June 18th 2009, Breckenridge, CO
        81. Trauma in Pregnancy
            36th Annual Trauma and Emergency Medicine Conference
            June 19th 2009, Breckenridge, CO
        82. Cadaver Lab: Anatomical Dissection
            2009 Colorado State EMS Conference
            November 5th, Keystone, Colorado
        83. Trauma in Pregnancy
            2009 Colorado State EMS Conference
            November 6th, Keystone, Colorado
        84. Update in EMS Literature: What’s Hot and What’s Not
            2009 Colorado State EMS Conference
            November 6th, Keystone, Colorado
        85. Lessons Learned from the DNC
            International Preparedness and Response to Emergencies and Disasters
            (IPRED)
            January 12th 2010
            Tel Aviv, Israel
        86. Geriatric Trauma
            Second Annual BCFFA EMS Conference
            January 23rd 2010, Boulder, Colorado
        87. Pharmaceutical Restraints: A New Medication Approach to the Agitated
            Patient
            The EMS State of the Sciences Conference: A Gathering of Eagles 2010
            February 26th, 2010
            Dallas, Tx
        88. Transfer of the Rural Trauma Patient
            Second Annual Western Colorado Trauma Conference
            May 21st 2010, Delta, Colorado
        89. Moderator, EMS Medical Director Panel: “Refusal of Care in the Prehospital
            Setting”
            37th Annual Rocky Mountain Trauma and Emergency Medicine Conference
            June 17th 2010, Breckenridge, Colorado
        90. Critical Issues in Triage
            37th Annual Rocky Mountain Trauma and Emergency Medicine Conference
            June 18th 2010, Breckenridge, Colorado
        91. Field Triage Guidelines: State of the Art or State of the Science?
            ACEP Scientific Assembly 2010
            September 28th, Las Vegas, Nevada
        92. Less Lethal Force: An Emerging Problem in Prehospital Care
            ACEP Scientific Assembly 2010
            September 29th, Las Vegas, Nevada
        93. Trauma Case Panel: Stump the Experts
            Carlo Rosen (Moderator), Christopher B. Colwell MD, John Fildes MD, Julie
            A. Mayglothling MD.




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            ACEP Scientific Assembly 2010
            September 29th, Las Vegas, Nevada
        94. Critical Issues in Triage
            Trauma and Critical Care Conference
            October 22nd, 2010
            Durango, Colorado
        95. Trauma Panel Case Review
            Christopher B. Colwell, Moderator
            October 23rd, 2010
            Durango, Colorado
        96. Lightning and Electrical Emergencies
            Trauma and Critical Care Conference
            October 23rd, 2010
            Durango, Colorado
        97. Cadaver Dissection Lab
            Colorado State EMS Conference 2010
            November 4th, 2010
            Keystone, Colorado
        98. Accidental Hyper And Hypothermia And All Things In Between
            Colorado State EMS Conference 2010
            November 5th, 2010
            Keystone, Colorado
        99. Biophone Calls: The Good, The Bad, And The Ugly
            Colorado State EMS Conference 2010
            November 5th, 2010
            Keystone, Colorado
        100. Geocoding Cardiac Arrest in Denver
            ECCU 2010 (Emergency Cardiac Care Update)
            December 8th, 2010
            San Diego, California
        101. Management of the Agitated Patient
            ECCU 2010 (Emergency Cardiac Care Update)
            December 9th, 2010
            San Diego, California
        102. The Nose Knows: Intranasal Medication Options are Growing
            EMS State of the Sciences: A Gathering of Eagles XIII 2011
            February 26th, 2011
            UT Southwestern Medical Center, Dallas, Texas
        103. Beyond Agitated Delirium: Dealing with the Issue of In-Custody Deaths
            The EMS State of the Sciences: A Gathering of Eagles XIII 2011
            February 26th, 2011
            UT Southwestern Medical Center, Dallas, Texas
        104. ED Operations 101: Follow the Money
            Council of Emergency Medicine Residency Directors (CORD) Academic
            Assembly 2011 (March 4th)
            San Diego, California




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        105. CPR, Defibrillation, and Drugs: What is the right VF mix?
           EMS Regional Conference: Resuscitation Excellence
           May 15th, 2011
           New York, New York
        106. We Don’t Need No Stinking Breaths! Compressions Only Pre-Arrival
           Instructions.
           EMS Regional Conference: Resuscitation Excellence
           May 15th, 2011
           New York, New York
        107. Moderator – Panel Discussion: Optimizing Colorado’s Trauma System
           38th Annual Rocky Mountain Trauma and Emergency Medicine Conference
           June 22nd, 2011
           Breckenridge, Colorado
        108. Pitfalls in Trauma Care
           38th Annual Rocky Mountain Trauma and Emergency Medicine Conference
           June 24th, 2011
           Breckenridge, Colorado
        109. Deleterious Delirium Deliberations: Modern Pitfall is Managing Agitated
           EMS Patients
           Advanced EMS Practitioner’s Forum and Workshop
           ACEP Scientific Assembly
           October 14th, 2011
           San Francisco, California
        110. Certifiable Behaviors: Preparing for EMS Subspecialty Board
           Certification
           Advance EMS Practitioner’s Forum and Workshop
           ACEP Scientific Assembly
           October 14th, 2011
           San Francisco, California
        111. Cadaver Dissection and Anatomy Lab
           Colorado State EMS Conference 2011
           November 3rd, 2011
           Keystone, Colorado
        112. On the Wings of Eagles: Hot Topics in EMS
           Colorado State EMS Conference 2011
           November 4th, 2011
           Keystone, Colorado
        113. Droperidol for Agitation
           Advanced Topics in Medical Direction
           NAEMSP National Meeting, 2012
           January 11th, 2012
           Tucson, Arizona
        114. Trauma in Pregnancy
           Children’s Hospital EMS Conference
           Aurora, Colorado
           January 20th, 2012




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        115. Withdrawing Support: A Prehospital Protocol for Alcohol Withdrawal
           EMS State of the Science: A Gathering of Eagles XIV
           February 24th, 2012
           Dallas, Texas
        116. A Sanguine Approach: The Use of Blood Products and Substitutes in the
           Field
           EMS State of the Science: A Gathering of Eagles
           February 24th, 2012
           Dallas, Texas
        117. Blast Injuries
           1st Annual Trauma Symposium
           March 15th, 2012
           Burlington, Colorado
        118. Rural Trauma
           1st Annual Trauma Symposium
           March 15th, 2012
           Burlington, Colorado
        119. Trauma in Pregnancy
           2012 NE Colorado EMS Symposium
           April 21st, 2012
           Fort Morgan, Colorado
        120. Hemorrhage Control in the Field: Tourniquets and Beyond
           Grand Rounds – St. Mary’s and Convent Health Care/Synergy Medical Center
           Hospitals
           May 10th, 2012
           Saginaw, Michigan
        121. Mass Casualty and Disaster Management
           Invited Lecture – Convent Health Care/Synergy Medical Center
           April 21st, 2012
           Saginaw, Michigan
        122. Trauma in Pregnancy
           39th Annual Rocky Mountain Trauma and Emergency Medicine Conference
           June 29th, 2012
           Breckenridge, Colorado
        123. Taking it on the QT: What are the Cardiac Effects of Sedation Practices?
           Emergency Cardiac Care Update (ECCU) 2012
           Pre-conference Workshop
           September 12th, 2012
           Orlando, Florida
        124. Withdrawing Support: Managing Alcohol Withdrawal in the Field
           Emergency Cardiac Care Update (ECCU) 2012
           Pre-conference Workshop
           September 12th, 2012
           Orlando, Florida
        125. Making Waves Diagnostically: Identifying Subtle Critical Emergencies
           with Capnography




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           Emergency Cardiac Care Update (ECCU) 2012
           Conference Session – Eagles: State of the Science
           September 13th, 2012
           Orlando, Florida
        126. Two Carbon Fragmentations: A Prehospital Protocol for Ethanol
           Withdrawal.
           2012 ACEP Advanced EMS Practitioners’ Forum and Workshop
           October 7th, 2012
           Denver, Colorado
        127. How to Break the Ache: 2012 Approaches to Prehospital Pain Control
           2012 ACEP Advanced EMS Practitioners’ Forum and Workshop
           October 7th, 2012
           Denver, Colorado
        128. I’d Scan That! Effective Diagnostic Trauma Imaging
           ACEP Scientific Assembly
           October 9th, 2012
           Denver, Colorado
        129. Evidence-Based Minor Trauma Management
           ACEP Scientific Assembly
           October 9th, 2012
           Denver, Colorado
        130. Trauma Talk: The Latest and the Greatest Trauma Literature
           ACEP Scientific Assembly
           October 10th, 2012
           Denver, Colorado
        131. The Combative, Uncooperative, Arrested, and Threatening Trauma
           Patient: A Legal, Ethical, and Medical Minefield
           ACEP Scientific Assembly
           October 10th, 2012
           Denver, Colorado
        132. MCI Medical Response: Are We Prepared?
           Denver Health Critical Care Conference
           October 12th, 2012
           Denver, Colorado
        133. The Colorado Shootings: Lessons Learned from Mass Casualty Events
           Grand Rounds – Beth Israel/Deaconess Medical Center
           November 7th, 2012
           Boston, Massachusetts
        134. The Colorado Shootings: Lessons Learned from Mass Casualty Events
           Keynote Speaker: Hillsborough County Medical Association
           November 13th, 2012
           Tampa Bay, Florida
        135. The Colorado Shootings: Lessons Learned on Disaster Management and
           Mass Casualty Events
           Grand Rounds: Scripps Memorial Hospital
           December 11th, 2012




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           La Jolla, California
        136. EMS in the Cross-Hairs: The Columbine, Aurora and Safeway Shootings
               EMS State of the Science: A Gathering of Eagles XV
               February 22nd, 2013
               Dallas, Texas
        137. Oh, What a Relief It Is! Revisiting Pain Medication Use in EMS
               EMS State of the Science: A Gathering of Eagles XV
               February 22nd, 2013
               Dallas, Texas
        138. ED Operations 101: Follow the Money
               Council of Emergency Medicine Residency Directors (CORD)
               Academic Assembly 2013
               March 7th, 2013
               Denver, Colorado
        139. Disaster Planning & Response: Lessons Learned from the Colorado
           Shootings
               Trauma, Critical Care, and Acute Care Surgery 2013 – Medical Disaster
               Response
               March 17th, 2013
               Las Vegas, Nevada
        140. Case Management Interactive Session: Practical Issues & Dilemmas in
           Mass Casualty Preparedness
               Trauma, Critical Care, and Acute Care Surgery 2013 – Medical Disaster
               Response
               March 17th, 2013
               Las Vegas, Nevada
        141. Trauma Surgeons Emergency Physicians and Trauma Care
               Trauma, Critical Care, and Acute Care Surgery 2013
               March 20th, 2013
               Las Vegas, Nevada
        142. Mass Casualty and Disaster Management – The Colorado Shootings
               Visiting Professorship/Grand Rounds
               Southern Illinois University School of Medicine
               April 18th, 2013
               Springfield, Illinois
        143. Mass Casualty and Disaster Management – The Colorado Shootings
               Sangamon County Medical Society
               April 18th, 2013
               Springfield, Illinois
        144. Lessons Learned from the Colorado Shootings
               12th Annual Trauma Symposium
               Mississippi Coastal Trauma Region
               May 1st, 2013
               Biloxi, Mississippi
        145. Mass Casualty and Disaster Management – The Colorado Shootings
               Grand Rounds – Indiana University Hospital-Methodist




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              May 10th, 2013
              Indianapolis, Indiana
        146. Prehospital Panel
              Moderator
              40th Annual Rocky Mountain Trauma & Emergency Medicine
              Conference
              June 27th, 2013
              Breckenridge, Colorado
        147. Environmental Emergencies
              40th Annual Rocky Mountain Trauma & Emergency Medicine Conference
              June 28th, 2013
              Breckenridge, Colorado
        148. Lessons Learned from the Colorado Shootings
              43rd Annual Wyoming Trauma Conference
              August 16th, 2013
              Cheyenne, Wyoming
        149. Oh What a Relief It Is: Evolving Trends in Prehospital Pain Management
              IAFF Advanced EMS Practitioners, Chiefs, & Medical Directors Forum
              August 24th, 2013
              Denver, Colorado
        150. EMS in the Cross-Hairs: The Columbine, Aurora, and Safeway Shootings
              IAFF Advanced EMS Practitioners, Chiefs, & Medical Directors Forum
              August 24th, 2013
              Denver, Colorado
        151. The Reality of the New Specialty: What Will Be the Impact of the New
           EMS Boards for Fire?
              IAFF Advanced EMS Practitioners, Chiefs, & Medical Directors Forum
              August 24th, 2013
              Denver, Colorado
        152. I’d Scan That!: Use of CT Scans in Trauma Care
              Grand Rounds – University of Wisconsin School of Medicine
              August 29th, 2013
              Madison, Wisconsin
        153. Evidence-Based Minor Trauma Management
              Grand Rounds – University of Wisconsin School of Medicine
              August 29th, 2013
              Madison, Wisconsin
        154. Mass Casualty and Disaster Management: EMS Lessons from the
           Colorado Shootings
              EMS World Expo 2013
              September 11th, 2013
              Las Vegas, Nevada
        155. 2013 Approaches to Pain Management and Sedation
              EMS World Expo 2013
              September 11th, 2013
              Las Vegas, Nevada




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        156. Mass Casualty and Disaster Management: Lessons Learned from the
           Colorado Shootings
              DuPage County Medical Society Annual Meeting
              October 9th, 2013
              Chicago, Illinois
        157. Mass Casualty Management: The Colorado Shootings
              Northern Colorado Emergency and Trauma Care Symposium
              October 11th, 2013
              Loveland, Colorado
        158. The Combative, Uncooperative, Arrested and Threatening Trauma Patient:
           A Legal, Ethical and Medical Minefield!
              ACEP Scientific Assembly 2013
              October 15th, 2013
              Seattle, Washington
        159. Skip the Scan! Effective Diagnostic Trauma Imaging
              ACEP Scientific Assembly 2013
              October 16th, 2013
              Seattle, Washington
        160. I Survived: Domestic Disasters – Lessons Learned from the Trenches
              ACEP Scientific Assembly 2013
              October 16th, 2013
              Seattle, Washington
        161. Managing Ballistic Injuries in the Pre-Hospital Setting
              World Extreme Medicine Expo 2013
              Harvard Medical School
              October 28th, 2013
              Boston, Massachusetts
        162. Cadaver Lab – Trauma Procedures
              Colorado State EMS Conference 2013
              November 7th, 2013
              Keystone, Colorado
        163. Mass Casualty and Disaster Management: Lessons Learned from the
           Colorado Shootings
              2013 Trauma and Critical Care Conference
              November 8th, 2013
              Durango, Colorado
        164. Mass Casualty and Disaster Management: The Colorado Shootings
              Lake County Medical Society Annual Meeting
              December 3rd, 2013
              Chicago, Illinois
        165. Myths in Trauma Care
              Yampa Valley Medical Center Trauma Conference
              November 15th, 2013
              Steamboat Springs, Colorado
        166. Myths in Pediatric Care
              The Brian Schimpf Memorial Prehospital Pediatric Care Conference




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              February 8th, 2014.
              Denver, Colorado
        167. Child-Like Behaviors: 10 Myths of EMS Pediatric Care
              EMS State of the Science: A Gathering of Eagles XVI
              February 28th, 2014
              Dallas, Texas
        168. Epidemic Proportions: Dosing Ketamine in the Era of Mamba Dramas
              EMS State of the Science: A Gathering of Eagles XVI
              March 1st, 2014
              Dallas, Texas
        169. Covering Mental Illness and Violence
              Health Journalism 2014 (Association of Health Care Journalism)
              March 29th, 2014
              Denver, Colorado
        170. Wound Management: How Do you Manage Cuts and Burns
              American College of Emergency Physicians (ACEP) Advanced Practice
              Provider Academy
              April 15th, 2014
              San Diego, CA
        171. Evaluation of Patients with Blunt Multiple Trauma and Penetrating
           Trauma: A Systematic Approach
              American College of Emergency Physicians (ACEP) Advanced Practice
              Provider Academy
              April 15th, 2014
              San Diego, CA
        172. Preparedness Put to the Test: Lessons Learned from Major Events to
           Guide Hospital Disaster Preparedness
              Medical World Americas Conference and Expo
              April 28th, 2014
              Houston, TX
        173. Myths in Trauma Care
              13th Annual MS Coastal Trauma Symposium
              May 14th, 2014
              Biloxi, MS
        174. Anxiolysis for the Cardiac Care Provider: Easy Choices for Sedation in
           Emergency Care
              Emergency Cardiac Care Update (ECCU), EMS Preconference Workshop
              June 3rd, 2014
              Las Vegas, NV
        175. Taking it on the QT: What are the Cardiac Effects of Sedation Practices?
              Emergency Cardiac Care Update (ECCU), EMS Preconference Workshop
              June 3rd, 2014
              Las Vegas, NV
        176. Anxiolysis for the Cardiac Care Provider: Easy Choices for Sedation in
           Emergency Care




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               Emergency Cardiac Care Update (ECCU), 2014 Citizens CPR
           Foundation: Clinical Solutions and Best Practices for EMS
               June 4th, 2014
               Las Vegas, NV
        177. Taking it on the QT: What are the Cardiac Effects of Sedation Practices?
               Emergency Cardiac Care Update (ECCU), 2014 Citizens CPR
           Foundation: Clinical Solutions and Best Practices for EMS
               June 4th, 2014
               Las Vegas, NV
        178. Hyperfibrinolysis, Physiologic Fibrinolysis, and Fibrinolysis Shutdown:
           The Spectrum of Postinjury Fibrinolysis and Relevance to Antifibrinolytic
           Therapy
           Moderator - Denver Health Trauma Services Continuing Education Series
           June 25th, 2014
           Denver, CO
        179. Myths in Pediatric Emergency Care
           41st Annual Rocky Mountain Trauma and Emergency Medicine Conference
           July 9th, 2014
           Breckenridge, CO
        180. The Combative, Uncooperative, Intoxicated Patient: An Ethical, Moral
           and Legal Dilemma
           41st Annual Rocky Mountain Trauma and Emergency Medicine Conference
           July 11th, 2014
           Breckenridge, CO
        181. Myths in Pediatric Care
           2014 University of Colorado Health and Denver Health Trauma Consortium:
           Acute Care Surgery, Trauma, and EMS Conference
           August 23rd, 2014
           Colorado Springs, CO
        182. Rural Trauma Care
           Great Plains Trauma Conference
           September 18th, 2014
           North Platte, Nebraska
        183. How to Break the Ache: 2014 Ways to Manage Prehospital Analgesia and
           Sedation
           Advanced EMS Practitioner’s Forum and Workshop
           ACEP 2014
           October 26th, 2014
           Chicago, Illinois
        184. No Small Lie: Debunking Myths in Pediatric EMS Care
           Advanced EMS Practitioner’s Forum and Workshop
           ACEP 2014
           October 26th, 2014
           Chicago, Illinois
        185. The Combative, Uncooperative, Arrested, and Threatening Trauma
           Patient: A Legal, Ethical, and Medical Minefield!




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           American College of Emergency Physicians (ACEP) Scientific Assembly
           2014
           October 27th, 2014
           Chicago, Illinois
        186. Cruising the Literature: The Most Influential EMS Articles of 2014
           American College of Emergency Physicians (ACEP) Scientific Assembly
           2014
           October 28th, 2014
           Chicago, Illinois
        187. Tales from the Rig: EMS Medical Director Words of Wisdom
           American College of Emergency Physicians (ACEP) Scientific Assembly
           2014
           October 28th, 2014
           Chicago, Illinois
        188. Imagine a World Without Backboards? Controversies in Spinal
           Immobilization
           American College of Emergency Physicians (ACEP) Scientific Assembly
           2014
           October 28th, 2014
           Chicago, Illinois
        189. Disaster Management: Lessons Learned from the Colorado Shootings
           Keynote Address: 9th Annual NORTN Regional Trauma Conference
           November 7th, 2014
           Akron General Hospital, Akron, Ohio
        190. The Combative, Uncooperative, Arrested, and Threatening Trauma
           Patient: A Legal, Ethical, and Medical Minefield!
           9th Annual NORTN Regional Trauma Conference
           November 7th, 2014
           Akron General Hospital, Akron, Ohio
        191. Ketamine for Excited Delirium
           EMS World Expo
           November 11th, 2014
           Nashville, TN
        192. 10 Myths of EMS Pediatric Care
           EMS World Expo
           November 11th, 2014
           Nashville, TN
        193. Biophone Communications
           EMS World Expo
           November 11th, 2014
           Nashville, TN
        194. EMS Medical Director Panel
           EMS World Expo
           November 12th, 2014
           Nashville, TN




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        195. The Combative, Uncooperative, Arrested, and Threatening Trauma
           Patient: A Legal, Ethical, and Medical Minefield!
           Boulder Community Hospital/AMR EMS Conference 2014
           December 6th, 2014
           Boulder, CO
        196. Special K: Ketamine in EMS
           7th Annual Advanced Topics in Medical Direction
           NAEMSP 2015
           January 20th, 2015
           New Orleans, LA
        197. First it was Backboards, now C-Collars
           EMS State of the Science: A Gathering of Eagles XVII
           February 20th, 2015
           Dallas, TX
        198. Taking it to the Streets! Prehospital Infusion of Plasma
           EMS State of the Science: A Gathering of Eagles XVII
           February 20th, 2015
           Dallas, TX
        199. Street Fighting Man! When the Combative Patient is Refusing Transport
           EMS State of the Science: A Gathering of Eagles XVII
           February 21st, 2015
           Dallas, TX
        200. A Hurt-Full Remark: Supporting Ketamine Use for Pain Management
           EMS State of the Science: A Gathering of Eagles XVII
           February 21st, 2015
           Dallas, TX
        201. Imagine a World Without Backboards? Controversies in Spinal
           Immobilization
           2nd Annual Brain Schimpf Memorial Pediatric EMS Conference
           February 28th, 2015
           Denver, CO
        202. Providing for the Providers: Impact of Traumatic Events on Providers
           Keynote address: Colorado CPR Association Annual Meeting
           April 30th, 2015
           Denver, CO
        203. Mass Casualty and Disaster Management: Lessons Learned from the
           Colorado Shootings
           North Trauma Care Region 2015 Trauma Symposium
           May 8th, 2015
           Tupelo, MS
        204. Management of Excited Delirium in the Era of Legalized Marijuana
           Vanderbilt Residency in Emergency Medicine
           May 19th, 2015
           Nashville, TN
        205. Mass Casualty and Disaster Management: Lessons Learned from the
           Colorado Shootings




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           Grand Rounds Presentation, Vanderbilt University School of Medicine
           May 19th, 2015
           Nashville, TN
        206. Active Shooter – Prehospital Forum (Moderator)
           42nd Annual Rocky Mountain Trauma and Emergency Medicine Conference
           June 19th, 2015
           Vail, Colorado
        207. Imagine a World without Backboards
           42nd Annual Rocky Mountain Trauma and Emergency Medicine Conference
           June 20th, 2015
           Vail, Colorado
        208. Mass Casualty and Disaster Management: Lessons Learned from the
           Colorado Shootings
           Ohio EMS Lecture Series – Keynote address
           August 20th, 2015
           Akron, Ohio
        209. Myths in Pediatric Care
           Grand Rounds, Deaconess Regional Trauma Center
           EMS Trauma Symposium
           September 9th, 2015
           Evansville, Indiana
        210. Plasma Administration in the Field: The COMBAT Trial
           World Trauma Symposium
           September 16th, 2015
           Las Vegas, Nevada
        211. The Combative, Uncooperative, Intoxicated Trauma Patient: A Medical,
           Legal, and Ethical Nightmare!
           EMS World
           September 17th, 2015
           Las Vegas, Nevada
        212. The Medical Impact of Marijuana Legalization
           EMS World
           September 17th, 2015
           Las Vegas, Nevada
        213. How to Deploy a New Toy for Every Girl and Boy: Implementing a
           Simpler System for Treating Children
           ACEP 2015 Scientific Assembly Advanced EMS Practitioners Forum and
           Workshop
           October 25th, 2015
           Boston, Massachusetts
        214. For the Life of all Flesh is the Blood Thereof! Prehospital Use of Blood
           Products and Systemic Bleeding Control
           ACEP 2015 Scientific Assembly Advanced EMS Practitioners Forum and
           Workshop
           October 25th, 2015
           Boston, Massachusetts




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        215. Trauma STAT! Don’t Miss the Visual Cue
           ACEP Scientific Assembly 2015
           October 28th, 2015
           Boston, Massachusetts
        216. The Combative, Uncooperative Trauma Patient
           ACEP Scientific Assembly 2015
           October 28th, 2015
           Boston, Massachusetts
        217. How to Deploy a New Toy for Every Girl and Boy: Implementing a
           Simpler System for Treating Children
           EAGLES – Best Practices in Street Medicine: Implementing the New
           Guidelines and Several Exceptional Innovations in Out-of-Hospital
           Emergency Cardiac Care
           ECCU (Emergency Cardiovascular Care Update) 2015
           December 9th, 2015
           San Diego, California
        218. Anxiolysis in Emergency Cardiac Care: 2015 Approaches to Safe
           Sedation
           EAGLES – Best Practices in Street Medicine: Implementing the New
           Guidelines and Several Exceptional Innovations in Out-of-Hospital
           Emergency Cardiac Care
           ECCU (Emergency Cardiovascular Care Update) 2015
           December 9th, 2015
           San Diego, California
        219. Latest Drugs of Abuse: The Impact of Legalization of Marijuana and
           Testing of EMS Personnel
           EMS Today (JEMS Conference and Exposition
           February 25th, 2016
           Baltimore, Maryland
        220. Chemical Suicides
           EMS Today (JEMS Conference and Exposition)
           February 25th, 2016
           Baltimore, Maryland
        221. Lightning Rounds: Ask the Eagles
           EMS Today (JEMS Conference and Exposition)
           February 26th, 2016
           Baltimore, Maryland
        222. Deliriously Yours: 2016 Approaches to Managing the Toxic Patients
           First There First Care Regional EMS Conference
           May 26th, 2016
           Broward County, Florida
        223. Promoting Post-Traumatic Provider Protection: Dealing with Depression,
           Anxiety, and Stress in EMS
           First There First Care Regional EMS Conference
           May 26th, 2016
           Broward County, Florida




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        224. There Will Be Blood in the Streets: On-Scene Use of Plasma, Cells and
           Other Clot-Musters
           First There First Care Regional EMS Conference
           May 26th, 2016
           Broward County, Florida
        225. Trauma in Pregnancy
           43rd Annual Rocky Mountain Trauma and Emergency Medicine Conference
           June 18th, 2016
           Denver, Colorado
        226. Mass Casualty and Disaster Management: Lessons Learned from the
           Colorado Shootings
           Zuckerberg San Francisco General Hospital and Trauma Center Department
           of Medicine Grand Rounds
           September 6th, 2016
           San Francisco, California
        227. Primum Non Nocere – to Yourself: Responding to the Malicious Mayhem
           of Mentally-ill Menaces
           2016 ACEP Scientific Assembly – Advanced EMS Practitioner’s Forum and
           Workshop
           October 15th, 2016
           Las Vegas, Nevada
        228. No Child (or Adult) Left Behind? The Complexities of Patient Refusal &
           Non-Transport Decisions
           2016 ACEP Scientific Assembly – Advanced EMS Practitioner’s Forum and
           Workshop
           October 15th, 2016
           Las Vegas, Nevada
        229. Taking the Pressure Off Sedation: Why Ketamine is My Pet Amine
           2016 ACEP Scientific Assembly – Advanced EMS Practitioner’s Forum and
           Workshop
           October 15th, 2016
           Las Vegas, Nevada
        230. Beyond the MVC: Burned, Blasted, and Bolted Trauma Victims
           2016 ACEP Scientific Assembly
           October 16th, 2016
           Las Vegas, Nevada
        231. Fast Facts: Let’s Chat About Trauma
           2016 ACEP Scientific Assembly
           October 16th, 2016
           Las Vegas, Nevada
        232. The Combative, Uncooperative, Trauma Patient
           2016 ACEP Scientific Assembly
           October 16th, 2016
           Las Vegas, Nevada
        233. Managing the Malicious Mayhem from Mentally Ill Menaces: The
           Evolving Roles of EMS in Active Shooter Incidents




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           41st Annual Alaska EMS Symposium
           November 4th, 2016
           Anchorage, Alaska
        234. Grass Roots Experience with Swedish Fish: A Token Presentation on
           Marijuana Legalization
           41st Annual Alaska EMS Symposium
           November 4th, 2016
           Anchorage, Alaska
        235. Promoting Post-Traumatic Provider Protection: Dealing with Depression,
           Anxiety, and Stress in EMS
           41st Annual Alaska EMS Symposium
           November 4th, 2016
           Anchorage, Alaska
        236. Minding Your P’s and Q’s: What are the Actual Cardiac Effects of
           Sedation Practices?
           41st Annual Alaska EMS Symposium
           November 4th, 2016
           Anchorage, Alaska
        237. It’s No Small Matter: Implementing a Simpler System for Treating
           Children
           41st Annual Alaska EMS Symposium
           November 4th, 2016
           Anchorage, Alaska
        238. Calling a Code Alert on our Mental Health: Suicide in EMS
           2017 NAEMSP Annual Meeting and Scientific Assembly
           January 26th, 2017
           New Orleans, Louisiana
        239. Child Abuse
           2017 Iowa Emergency Medical Services Association Pediatric Conference
           February 25th, 2017
           Des Moines, Iowa
        240. Apparent Life-Threatening Events
           2017 Iowa Emergency Medical Services Association Pediatric Conference
           February 25th, 2017
           Des Moines, Iowa
        241. Impact of Marijuana Legalization
           2017 Iowa Emergency Medical Services Association Pediatric Conference
           February 25th, 2017
           Des Moines, Iowa
        242. Myths in Pediatric Care
           2017 Iowa Emergency Medical Services Association Pediatric Conference
           February 25th, 2017
           Des Moines, Iowa
        243. Traumatic Shock
           UCSF High Risk Emergency Medicine Conference
           April 9th, 2017




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           Maui, Hawaii
        244. Penetrating Abdominal Trauma
           UCSF High Risk Emergency Medicine Conference
           April 9th, 2017
           Maui, Hawaii
        245. The Combative, Intoxicated Trauma Patient: A Medical, Legal, and
           Ethical Conundrum!
           UCSF High Risk Emergency Medicine Conference
           April 9th, 2017
           Maui, Hawaii
        246. Geriatric Trauma
           UCSF High Risk Emergency Medicine Conference
           April 9th, 2017
           Maui, Hawaii
        247. Accidental Hypothermia
           Wilderness Medicine: Avoiding and Managing Outdoor Medical Emergencies
           UCSF Wilderness Medicine Medical School Elective and Mini Medical
           School for the Public
           April 26th, 2017
           San Francisco, California
        248. High Altitude Illness
           Wilderness Medicine: Avoiding and Managing Outdoor Medical Emergencies
           UCSF Wilderness Medicine Medical School Elective and Mini Medical
           School for the Public
           April 26th, 2017
           San Francisco, California
        249. Managing the Crashing, Combative Trauma Patient
           High Risk Emergency Medicine San Francisco
           June 1st, 2017
           San Francisco, California
        250. Imaging in Trauma
           High Risk Emergency Medicine San Francisco
           June 1st, 2017
           San Francisco, California
        251. Safe Sedation in the Era of Legalized Marijuana
           National EMS Safety Summit
           August 21st, 2017
           Denver, Colorado
        252. Safety in EMS – Panel Discussion
           National EMS Safety Summit
           August 22nd, 2017
           Denver, Colorado
        253. Lessons Learned from Active Shooter Scenarios
           6th Annual Medical-Legal Forum
           Mile High Regional Medical and Trauma Advisory Council
           September 28th, 2017




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           Lakewood, Colorado
        254. Integration and Challenges of Local, State and Federal Medical Surge
           Resources – Perspectives on the SFFW Full Scale Exercise and Asset
           Integration
           Panelist – Medical Peer to Peer Exchange Seminar
           San Francisco Fleet Week 2017
           October 4th, 2017
           San Francisco, California
        255. Trauma STAT! Don’t Miss This Visual Cue!
           American College of Emergency Physicians (ACEP) Scientific Assembly
           October 31st, 2017
           Washington D.C.
        256. FAST FACTS: Let’s Chat About Adult Trauma
           American College of Emergency Physicians (ACEP) Scientific Assembly
           October 31st, 2017
           Washington D.C.
        257. Advanced Wound Care Closure in the ED: Putting the Pieces Back
           Together
           American College of Emergency Physicians (ACEP) Scientific Assembly
           October 31st, 2017
           Washington D.C.
        258. Pediatric Resuscitation is No Small Matter: 2017 Approaches to Managing
           Cardiac Events in Children
           Emergency Cardiovascular Care Update (ECCU) 2017
           December 5th, 2017
           New Orleans, Louisiana
        259. De-MS in EMS: Fentanyl versus Morphine for Chest Pain Management
           Emergency Cardiovascular Care Update (ECCU) 2017
           December 5th, 2017
           New Orleans, Louisiana
        260. Toxic Remarks: Case Studies of Cardiac Effects of Drugs of Abuse
           Emergency Cardiovascular Care Update (ECCU) 2017
           December 6th, 2017
           New Orleans, Louisiana
        261. Mass Casualty and Disaster Management: Lessons Learned from the
           Colorado Shootings
           Grand Rounds – University of Michigan Department of Emergency Medicine
           January 10th, 2018
           Ann Arbor, Michigan
        262. Better Mind Your P’s and Q;s: Subtle Cardiac Effects of Drugs of Abuse
           EMS State of the Science: A Gathering of Eagles XX
           March 2nd, 2018
           Dallas, Texas
        263. DeMSing EMS: Why I’d Get Rid of Morphine Sulfate
           EMS State of the Science: A Gathering of Eagles XX
           March 3rd, 2018




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           Dallas, Texas
        264. A Grass Roots Experience: The Medical Implications of Marijuana
           Legalization in Colorado
           ZSFG Medicine Grand Rounds
           March 27th, 2018
           San Francisco, California
        265. Pitfalls in the Trauma Airway
           UCSF High Risk Emergency Medicine Hawaii
           April 9th, 2018
           Maui, Hawaii
        266. Challenging Trauma Case Panel
           Moderator
           UCSF High Risk Emergency Medicine
           April 11th, 2018
           Maui, Hawaii
        267. Pitfalls in Patients with Stab Wounds
           UCSF High Risk Emergency Medicine Hawaii
           April 10th, 2018
           Maui, Hawaii
        268. Pitfalls in the Patient Found Down
           UCSF High Risk Emergency Medicine Hawaii
           April 10th, 2018
           Maui, Hawaii
        269. The Combative, Uncooperative Trauma Patient
           SEMPA 360 – Society of Emergency Medicine Physician Assistants National
           Assembly
           May 5th, 2018
           San Antonio, Texas
        270. Mass Casualty: Lessons Learned from the Colorado Shootings
           SEMPA 360 – Society of Emergency Medicine Physician Assistants National
           Assembly
           May 5th, 2018
           San Antonio, Texas
        271. The Medical Impact of Marijuana Legalization
           SEMPA 360 – Society of Emergency Medicine Physician Assistants National
           Assembly
           May 5th, 2018
           San Antonio, Texas
        272. Update on Urologic Emergencies
           Moderator – Panel Discussion on Testicular Torsion, Priapism, and Penile
           Fracture
           American Urological Association (AUA) Annual Meeting 2018
           May 20th, 2018
           San Francisco, California
        273. Assessing Capacity in the Intoxicated Trauma Patient




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           Keynote Address – 45th Annual Rocky Mountain Trauma and Emergency
           Medicine Conference
           June 7th, 2018
           Vail, Colorado
        274. Pitfalls in Patients with Stab Wounds
           45th Annual Rocky Mountain Trauma and Emergency Medicine Conference
           June 8th, 2018
           Vail, Colorado
        275. Trauma Panel of Experts
           45th Annual Rocky Mountain Trauma and Emergency Medicine Conference
           June 8th, 2018
           Vail, Colorado
        276. Cruising the Literature: Trauma 2018
           American College of Emergency Physicians (ACEP) National Scientific
           Assembly 2018
           October 2nd, 2018
           San Diego, California
        277. Fast Facts: Let’s Chat about Adult Trauma
           American College of Emergency Physicians (ACEP) National Scientific
           Assembly 2018
           October 2nd, 2018
           San Diego, California
        278. ED Thoracotomy: When, Who, and How
           American College of Emergency Physicians (ACEP) National Scientific
           Assembly 2018
           October 3rd, 2018
           San Diego, California
        279. Clear as Mud: C-Spine Clearance 2018
           American College of Emergency Physicians (ACEP) National Scientific
           Assembly 2018
           October 3rd, 2018
           San Diego, California
        280. Grass-Roots Experience with Rocky Mountain Highs: What Marijuana
           Legislation did for the C-States
           South Florida EMS State of the Science
           November 8th, 2018
           Hollywood, Florida
        281. How to De-Code the No-Load Mode: When a Patient Declines Transport
           South Florida EMS State of the Science
           November 8th, 2018
           Hollywood, Florida
        282. Mitigating Child-Like Behaviors: Dismantling Major Myths of EMS Care
           for Kids
           South Florida EMS State of the Science
           November 8th, 2018
           Hollywood, Florida




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        283. Not Just a Breathless Experience: The Cardiac Effects of Drugs of Abuse
           South Florida EMS State of the Science
           November 8th, 2018
           Hollywood, Florida
        284. Altered States of Mind – Part 1: Sedation Practices in EMS
           South Florida EMS State of the Science
           November 8th, 2018
           Hollywood, Florida
        285. Causalities for Caustic Cautions About Precautions: 2018 Approaches to
           Spinal Motion Restriction
           South Florida EMS State of the Science
           November 8th, 2018
           Hollywood, Florida
        286. On the Wings of Eagles – Hot Topics in EMS
           Iowa EMS Association (IEMSA) Annual Meeting
           November 9th, 2018
           Des Moines, Iowa
        287. Myths in Pediatric Care
           Iowa EMS Association (IEMSA) Annual Meeting
           November 10th, 2018
           Des Moines, Iowa
        288. Impact of Legalization of Marijuana on EMS/The Combative Intoxicated
           Patient
           Iowa EMS Association (IEMSA) Annual Meeting
           November 10th, 2018
           Des Moines, Iowa
        289. Intubation and Sedation of the Critically Ill Patient
           High Risk Emergency Medicine 2019
           February 19th, 2019
           Honolulu, Hawaii
        290. Transfer of the Trauma Patient
           High Risk Emergency Medicine 2019
           February 20th, 2019
           Honolulu, Hawaii
        291. Advanced Wound Care Closure in the ED
           High Risk Emergency Medicine 2019
           February 22nd, 2019
           Honolulu, Hawaii
        292. Persistent Injurious Concepts: Continuing Major Myths in Trauma Care
           EMS State of the Science XXI: A Gathering of Eagles
           March 1st, 2019
           Dallas, Texas
        293. Electrocardiography 501: Subtle ECG Findings You Might Miss
           EMS State of the Science XXI: A Gathering of Eagles
           March 2nd, 2019
           Dallas, Texas




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        294. The History of Emergency Medicine
           San Diego Trauma Society
           April 12th, 2019
           San Diego, California
        295. Trauma Literature 2019 – The Latest and Greatest
           Grand Rounds: Mount Sinai Health System/Icahn School of Medicine
           April 16th, 2019
           New York, New York
        296. Hypothermia and Cold Related Injury
           2019 Wilderness Medicine Elective
           UCSF School of Medicine
           May 1st, 2019
           San Francisco, California
        297. High Altitude Illness
           2019 Wilderness Medicine Elective
           UCSF School of Medicine
           May 1, 2019
           San Francisco, California
        298. Precautionary Cautions About Precautions: 2019 Approaches to Spinal
           Motion Restriction
           Polk County Fire Rescue EMS Week 2019 Medical Seminar – Eagles
           May 23rd, 2019
           Orlando, Florida
        299. Mitigating Child-Like Behaviors: Dismantling the Major Myths about
           Managing Maladies in Minors
           Polk County Fire Rescue EMS Week 2019 Medical Seminar – Eagles
           May 23rd, 2019
           Orlando, Florida
        300. Acing the Tracing Your Facing: Subtle ECG Findings You Don’t Want to
           Miss
           Polk Country Fire Rescue EMS Week 2019 Medical Seminar – Eagles
           May 23rd, 2019
           Orlando, Florida
        301. Mass Casualty and Disaster Management – Lessons Learned from the
           Colorado Shootings
           Grand Rounds – Department of Emergency Medicine
           University Hospitals Cleveland Medical Center
           June 13th, 2019
           Cleveland, Ohio
        302. High Altitude Illness
           University Hospitals Cleveland Medical Center
           June 13th, 2019
           Cleveland, Ohio
        303. Sedation of the Trauma Patient
           University Hospitals Cleveland Medical Center
           June 13th, 2019




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           Cleveland, Ohio
        304. Mass Casualty and Disaster Management: Lessons Learned from the
           Colorado Shootings
           Keynote address – 31st Annual David Miller Memorial Trauma Symposium
           October 11th, 2019
           Springfield, Missouri
        305. The Combative, Uncooperative, Arrested, and Threatening Trauma
           Patient: A Legal, Ethical, and Medical Minefield
           31st Annual David Miller Trauma Symposium
           October 11th, 2019
           Springfield, Missouri
        306. Management of Pelvic Trauma – Binders, REBOA, and More!
           American College of Emergency Physicians (ACEP) Scientific Assembly,
           2019 [ACEP19]
           October 28th, 2019
           Denver, Colorado
        307. Life Saving Procedures in Trauma
           American College of Emergency Physicians (ACEP) Scientific Assembly,
           2019 [ACEP19]
           October 28th, 2019
           Denver, Colorado
        308. Cruising the Literature – Best Trauma Articles of 2019
           American College of Emergency Physicians (ACEP) Scientific Assembly,
           2019 [ACEP19]
           October 29th, 2019
           Denver, Colorado
        309. Transfer of the Trauma Patient
           Grand Rounds – Kaiser San Francisco
           December 3rd, 2019
           San Francisco, California
        310. Management of Pelvic Fractures
           Grand Rounds – Vanderbilt University Medical Center
           December 17th, 2019
           Nashville, Tennessee
        311. Mass Shootings in the United States
           Keynote address – Clinical Governance Day
           The Royal London Hospital (via Zoom)
           February 6th, 2020
        312. Mass Casualty and Disaster Management – Lessons Learned from the
           Colorado Shootings 2020
           University of Wisconsin
           Emergency Medicine Grand Rounds
           September 24th, 2020
           Madison, Wisconsin (Virtual)
        313. Management of the Agitated Trauma Patient – A Medical, Legal, and
           Ethical Minefield




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           University of Wisconsin
           Emergency Medicine Grand Rounds
           September 24th, 2020
           Madison, Wisconsin (Virtual)
        314. Cruising the Literature: Trauma 2020
           American College of Emergency Physicians (ACEP) Scientific Assembly
           2020
           October 26th, 2020
           Dallas, Texas (Virtual – live)
        315. Management of Pelvic Trauma
           American College of Emergency Physicians (ACEP) Scientific Assembly
           2020
           October 26th, 2020
           Dallas, Texas (Virtual)
        316. Managing the Agitated Trauma Patient
           American College of Emergency Physicians (ACEP) Scientific Assembly
           2020
           October 27th, 2020
           Dallas, Texas (Virtual)
        317. Resuscitation of the Trauma Patient
           American College of Emergency Physicians (ACEP) Scientific Assembly
           2020
           October 27th, 2020
           Dallas Texas (Virtual)
        318. Mass Casualty and Disaster Management: Lessons Learned from the
           Colorado Shootings
           OhioHealth Trauma Care 2020
           November 16th, 2020
           Columbus, Ohio (Virtual)
        319. Myths in Trauma Care
           OhioHealth Trauma Care 2020
           November 17th, 2020
           Columbus, Ohio (Virtual)
        320. Building Relationships with your ED Team
           Trauma Center Association of America – Trauma Medical Director’s course
           December 3rd, 2020
           Mooresville, North Carolina (Virtual)
        321. Meet the Medical Directors – The Ketamine Panel
           EMS World Expo Spring Conference, 2021
           March 3rd, 2021 (Virtual)
        322. Managing the Agitated Trauma Patient
           SEMPA Live
           April 12th, 2021 (Virtual)
        323. Management of the Agitated Trauma Patient
           Trauma Fundamentals 2021
           EMRAP Virtual International Conference




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           April 14th, 2021
        324. Geriatric Trauma
           Trauma Fundamentals 2021
           EMRAP Virtual International Conference
           April15th, 2021
        325. Building Relationships with your ED Team
           Trauma Medical Director Course
           Trauma Center Association of America
           Mooresville, North Carolina (Virtual)
           April 29th, 2021
        326. The Combative, Uncooperative, Arrested and Threatening Trauma Patient
           35th Annual Midwest Trauma Conference
           May 6th, 2021
           Kansas City, Missouri
        327. The Columbine Shooting
           35th Annual Midwest Trauma Conference (Keynote)
           May 7th, 2021
           Kansas City, Missouri
        328. Resuscitation of the Critically Ill Trauma Patient
           SEMPA 360 Annual Conference
           May 12th, 2021 (Virtual)
        329. On-Scene Inapsine: Getting the Drop on the Overall Amazing utility of
           Droperidol
           EMS State of the Science: XXII – A Gathering of Eagles
           First There First Care Conference
           June 17th, 2021
           Hollywood, Florida
        330. Defend the Glycocalyx (whatever that is)! Why Is Giving Crystalloids in
           Uncontrollable Hemorrhage So Wrong?
           EMS State of the Science: XXII – A Gathering of Eagles
           First There First Care Conference
           June 17th, 2021
           Hollywood, Florida
        331. Minding the Mind of EMS Professionals Part II: Creating Safe Harbors for
           First Responders in the Golden Gate City
           EMS State of the Science: XXII – A Gathering of Eagles
           First There First Care Conference
           June 18th, 2021
        332. Building Relationships with your Emergency Department Team
           Trauma Medical Director Course (Virtual)
           Trauma Center Association of America
           August 19th, 2021
        333. Endocarditis
           Key Topics in Cardiology
           EM-RAP Virtual Conference
           September 1st, 2021




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        334. Management of WPW
           Key Topics in Cardiology
           EM-RAP Virtual Conference
           September 2nd, 2021
        335. Recent Advances in the Resuscitation of the Trauma Patient
           3rd Annual Marin-Health Medical Center Trauma Symposium
           October 12th, 2021
           Marin, California (Virtual)
        336. Resuscitation of the Trauma Patient
           American College of Emergency Physicians Scientific Assembly (ACEP21)
           October 27th, 2021
           Boston, Massachusetts
        337. Breaking the Cycle: Implementing a Community Violence Intervention
           Program in the ED (James D. Mills, Jr. Memorial Lecture)
           American College of Emergency Physicians Scientific Assembly (ACEP21)
           October 27th, 2021
           Boston, Massachusetts
        338. Management of Pelvic Trauma
           American College of Emergency Physicians Scientific Assembly (ACEP21)
           October 27th, 2021
           Boston, Massachusetts
        339. Cruising the Literature: Trauma 2021
           American College of Emergency Physicians Scientific Assembly (ACEP21)
           October 28th, 2021
           Boston, Massachusetts
        340. Breaking the Cycle: Implementing a Community Violence Intervention
           Program in the ED
           Grand Rounds – Department of Pediatrics
           UCSF School of Medicine
           February 8th, 2022
        341. Medical Clearance of the Psychiatric Patient
           SEMPA 360
           April 6th, 2022
           Las Vegas, Nevada
        342. Trauma Literature 2022
           SEMPA 360
           April 6th, 2022
           Las Vegas, Nevada
        343. Trauma Resuscitation Pearls and Pitfalls
           High Risk Emergency Medicine
           April 10th, 2022
           Maui, Hawaii
        344. The Precipitous Delivery
           High Risk Emergency Medicine
           April 11th, 2022
           Maui, Hawaii




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        345. Medical Clearance of the Psychiatric Patient
           High Risk Emergency Medicine
           April 13th, 2022
           Maui, Hawaii
        346. Trauma Literature Update 2022
           High Risk Emergency Medicine
           April 14th, 2022
           Maui, Hawaii
        347. Resuscitation of the Penetrating Trauma Patient
           EMRAP One
           April 20th, 2022
           Los Angeles, California
        348. Managing Patients with Agitated Behavior
           NAEMT/NAEMSP National Webinar
           May 10th, 2022
        349. Five More on the Floor: The Five Most Important Trauma Publications of
           the Past Year
           2022 First There First Care Conference
           EMS State of the Science: XXIII – A Gathering of Eagles
           June 16th, 2022
           Hollywood, Florida
        350. Deciding Veracity in Capacity with Tenacity: How to Best and Safely
           Assess the Patient’s Ability to Decide Their Own Fate
           2022 First There First Care Conference
           EMS State of the Science: XXIII – A Gathering of Eagles
           June 16th, 2022
           Hollywood, Florida
        351.




 Certifications

           •      NRP, 2009
           •      ATLS, 2003
                    o ATLS Instructor
                             November 18th, 2016
                             July 23rd, 2017
                             June 25th, 2018
                             June 24th, 2019
                             October 17th, 2019
                             June 22nd, 2020
                             July 10th, 2020
                             June 10-11, 2021
                             July 29-30, 2021
                             June 9-10, 2022




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           •   ACLS, 1996
           •   PALS, 1994
           •   ATLS instructor, 2010 – present
           •   BLS, 2016

 Media

           •   Tales From the Front Lines - San Francisco Magazine – September, 2017
           •   How to Control Bleeding – The New York Times Magazine – April 22nd,
               2018
           •   Skinned Knees to Broken Heads: Tracking Scooter Injuries – The New
               York Times – August 3rd, 2018
           •   Interview – NBC – Scooter injuries – August 8th, 2018
           •   Interview – San Francisco Chronicle – Scooter Injuries – August 11th,
               2018
           •   Wines on a Plane: Does Drinking Affect You Differently While Flying? –
               Wine Spectator, August 21st, 2018
           •   National Public Radio (NPR) segment – Heat Related Emergencies –
               October, 2018
           •   Interview – KPIX TV Channel 5 – Scooter injuries - January 25th, 2019
           •   Interview – San Francisco Chronicle – Scooter Injuries – January 26th,
               2019
           •   Interview – RTV6 Indianapolis – Marijuana use kills Indiana teen, mother
               speaks out. Stephanie Wade, April 11, 2019
               (https://www.theindychannel.com/news/working-for-you/marijuana-use-
               kills-indiana-teen-mother-speaks-out)
           •   Interview – The New Yorker – Twenty years after Columbine. Michael
               Luo, April 20th, 2019. (https://www.newyorker.com/news/news-
               desk/twenty-years-after-columbine)
           •   Interview – Fox KTVU Channel 2 – San Francisco averaged one fentanyl
               overdose death a week last year. Amber Led, June 25th, 2019
               (http://www.ktvu.com/news/ktvu-local-news/san-francisco-averaged-one-
               fentanyl-overdose-death-a-week-last-year)
           •   Patients Leaving AMA: Signed Forms Alone Are Not Sufficient
               Malpractice Defense. ED Legal Letter, Volume 30, No. 8, p. 85-88,
               August, 2019
           •   Interview – San Francisco Chronicle – Psychiatric patients in the ED.
               August 15, 2019
           •   Interview – San Francisco Examiner – ED Diversion – September 26th,
               2019
           •   Interview – San Francisco Chronicle – Emergency department
               management of substance abuse – November 5th, 2019
           •   Interview – KTVU Channel 2 Morning News (Mornings on 2) – Holiday
               mishaps – December 20th, 2019 https://sfgov1-
               my.sharepoint.com/:v:/r/personal/maricella_miranda_sfdph_org/Documen




                                                              VIRAMONTES 003473
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               ts/Media/KTVU%202_Chris%20Colwell_ED%20holidays_2019/IMG_05
               71.MOV?csf=1&e=RQGwJN
           •   Interview – KCBS news – Scooter injuries in the ER. January 15th, 2020
           •   Interview – KTVU Channel 2 Fox News – COVID 19 response, March
               19th, 2020
               https://www.facebook.com/548490151931030/posts/2731790630267627/
           •   Interview – LA Times – COVID 19 response, March 22, 2020
           •   Interview – KQED – COVID 19 response, March 24th, 2020
           •   Interview – KRON TV – COVID 19 response, March 26th, 2020
           •   Interview – ABC 7 News – COVID 19 expectations, April 13th, 2020
           •   Interview – ABD 7 News – COVID 19 and coagulation disorders, April
               29th, 2020
           •   Interview – CalMatters Sacramento – Impact of delaying care during the
               pandemic, May 12th, 2020
           •   Interview – Please don’t avoid the emergency room. Elemental (Ariela
               Zebede, author), June 9th, 2020 https://elemental.medium.com/please-
               dont-avoid-the-emergency-room-aafdd21e477e
           •   Interview – NBCUniversal - Impact of people staying away from the
               hospital during the pandemic, June 19th, 2020
           •   Interview – KGO TV/ABC news – Impact of COVID-19 on behavioral
               health patients, July 13th, 2020
           •   Interview – Telemundo – Impact of the pandemic on behavioral health.
               July 16, 2020
           •   Interview – KTVU Channel 2 Fox News – Heat –Related Emergencies,
               August 14th, 2020
           •   Interview – San Francisco Chronicle – Substance abuse fatalities,
               September 1st, 2020
           •   Interview – New York Times – Impact of climate change and fires on the
               homeless, October 23rd, 2020
           •   Interview – ABC Channel 7 News – ‘Going to be hard’: Bay Area doctors
               prepare for hospital surge as COVID-19 cases increase. November 16th,
               2020
                   o https://www.msn.com/en-us/news/us/going-to-be-hard-bay-area-
                       doctors-prepare-for-hospital-surge-as-covid-19-cases-increase/ar-
                       BB1b57mx
           •   Interview – KTVU Fox 2 News – COVID-19 vaccine. December 15th,
               2020
                   o https://www.ktvu.com/news/bay-area-hospital-workers-set-to-
                       receive-first-vaccinations
           •   Interview – ABC 7 News – COVID-19 vaccine. December 16th, 2020
                   o https://abc7news.com/health/sf-general-hospital-to-administer-its-
                       1st-covid-vaccine-doses/8785757/
           •   Interview – MSNBC – 3rd Surge of the pandemic. December 26th, 2020
           •   Interview – KGO TV ABC 7 News – Impact of the 3rd surge of the
               pandemic, Saturday, January 2nd, 2021




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           •   Interview – ABC news (local and national) – Impact of the holiday
               celebrations on the hospitals in San Francisco. Saturday, January 9th, 2021
           •   Interview – SFGATE News – COVID-19 Surge in the Bay Area. January
               10th, 2021
                  o   https://www.sfgate.com/bayarea/article/Christopher-Colwell-SF-
                      General-COVID-surge-plan-
                      15860497.php?utm_campaign=CMS%20Sharing%20Tools%20(Premium
                      )&utm_source=share-by-email&utm_medium=email
                    o
           •   Interview – ABC 7 News – Vaccine roll out in the Bay Area, January 11th,
               2021
                    o https://abc7news.com/covid-19-vaccinations-california-bay-area-
                       covid-vaccine/9578842/
           •   Interview – FOX 2 News – Impact of the pandemic on the Bay Area,
               January 11th, 2021
           •   Interview – ABC 7 News – Update on the 3rd Surge in the Bay Area,
               February 22, 2021
           •   Interview – ABC 7 News – Cannabis Hyperemesis Syndrome, March 10th,
               2021
           •   Interview – The Dr. Oz Show – FOX (KTVU) – Is the Worst Behind Us?
               Coming off the 3rd Surge of the Coronavirus Pandemic. March 10th, 2021
           •   Interview – ABC 7 News – Update on the vaccine distribution – Entering
               Phase 1C. March 14th, 2021
           •   Interview – ABC7 News – Use of Beta-Blockers for performance
               enhancement. April 5th, 2021
           •   Interview – ABC7 News – Complications of the Johnson and Johnson
               vaccine. April 23rd, 2021
           •   Interview – SFGATE – ‘Fentanyl has changed the whole landscape’: San
               Francisco faces worst drug epidemic ever. June 15th, 2021
                    o https://www.sfgate.com/bayarea/article/fentanyl-San-Francisco-
                       overdose-drug-epidemic-16237333.php
           •   Interview – KGO-TV ABC7 News – The delta variant of COVID-19. July
               9th, 2021
           •   Interview – ABC7 News – Breakthrough COVID-19 infections. July 10th,
               2021
           •   Interview – KTVU Fox 2 – The fentanyl epidemic. July 14th, 2021
                    o https://www.facebook.com/100057784162664/posts/24343396
                       4259407/
           •   Interview – KGO-TV ABC7 – Live – Breakthrough cases and pandemic
               update. July 12th, 2021
                    o https://www.facebook.com/abc7news/videos/194262392659562/
           •   Interview – Neurology Consult Delays Can Become an Issue in Claims.
               ED Legal Letter July, 2021; Vol. 32, Issue 7: pp. 80-82.
           •   Interview – Good Morning America (national broadcast) KGO-TV ABC7
               News – Pandemic of the unvaccinated. July 20th, 2021




                                                                VIRAMONTES 003475
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           •   Interview – KGO-TV ABC7 News – The Fourth Surge. July 28th, 2021
           •   Interview – KGO-TV ABC7 SF Live – Vaccine update. August 2, 2021
                   o https://www.facebook.com/abc7news/videos/347754970393905/
           •   Interview – KGO-TV ABC7 News – Supplemental vaccines. August 2,
               2021
           •   Interview – NPR – Press Play with Madeleine Brand – Why some people
               may need a booster shot, especially if they got Johnson and Johnson’s
               single dose. August 10th, 2021
                   o https://www.kcrw.com/news/shows/press-play-with-madeleine-
                       brand/coronavirus-kids-tech-tv-film-sfv/vaccine-covid-booster
           •   Interview – Associated Press – Quake survivors face elevated risk of
               amputations and other injuries. Published in the San Francisco Chronicle,
               August 29th, 2021
           •   Interview – KTVU Fox 2 – Opioid overdoses and the continuing
               epidemic. September 30th, 2021
           •   Interview – KGO-TV ABC7 News – Impact of vaccine mandates on the
               Emergency Department. October 4th, 2021
           •   Interview – KCBS Radio – The impact of gun violence on our
               communities. November 7th, 2021
           •   Interview – Police Transport More Patients with Mental Health Needs to
               ED. Published in ED Management, Vol. 33, No. 11; p. 143-5. November,
               2021
           •   Interview – KGO-TV ABC7 News – Travel over the holidays in the
               current state of the pandemic. December 17th, 2021
           •   Interview – KGO-TV ABC7 News – Impact on the ED of the Omicron
               surge. January 3rd, 2022
           •   Interview – KGO-TV ABC7 News – Staffing and resource shortages
               during the pandemic. January 4th, 2022.
           •   Interview – KGO-TV ABC7News – Update on the pandemic. January
               23rd, 2022
           •   Interview – KGO-TV ABC7 News – Staffing shortage impacts during the
               current pandemic surge. January 31st, 2022
           •   Interview – ABC News – Impact of the pandemic on the opioid epidemic.
               March 12th, 2022
           •   Interview – KRON4 News – The dangers of fentanyl overdoses. April 2nd,
               2022
           •   Interview – KGO-TV ABC7 News – Current state of the pandemic. April
               27th, 2022
           •   Interview – When ED Providers Overlook Information Conveyed by
               EMS. Published in ED Management June, 2022: Vol. 34, No. 6, pgs. 92-
               93
           •   Interview – KGO-TV ABC7 News – Update on the current COVID surge.
               May 27th, 2022
           •   Interview – MedPage Today – Emergency docs on injuries from assault
               weapons. May 31st, 2022.




                                                              VIRAMONTES 003476
                                                                 CCSAO 09/15/2022
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                   o https://www.medpagetoday.com/special-reports/exclusives/98982


 Additional Activities

               •   Citizen CPR training
                   • August 14th, 2021
                   • September 4th, 2021
               •   President, Sigma Phi Epsilon fraternity, Ann Arbor, MI 1987-1988
                   Active Member: 1984-1988
               •   Varsity Tennis, University of Michigan, Ann Arbor, MI 1984-1988
                   Big Ten Team Champions: 1985, 1986, 1988. NCAA Team
                   Semifinals: 1988
               •   Psi Chi Honor Society 1987-1988
               •   Captain, Varsity Tennis Team, La Jolla High School, La Jolla, CA
               •   Michigan Alumnae Scholarship recipient, San Diego Chapter 1984-
                   1985

 Languages     Fluent in Spanish




                                                             VIRAMONTES 003477
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Christopher Beall Colwell
Listing of Prior Testimony


     Date                          Case Name                   Case Number                     Jurisdiction                 Depo/Trial

8/15/2012       Braselton and Braselton v. Reishus          2011CV90              Colorado                                  Deposition
6/19/2014       Alexander v. Presbyterian Hospital          D 1314 CV 2012-       New Mexico                                Deposition
                                                            01024
5/13/2015       Larkin v. Hunt/Swedish                      2013CV35183           Denver District Court, Colorado           Deposition
9/28/16         P.W. v. Children’s Hospital of Colorado     2014-CV-31314         Adams County District Court, State of     Deposition
                                                                                  Colorado
10/27/2016      Valdez v. Simmons                           140903592             Second District Court, Weber County,      Deposition
                                                                                  Utah
07/19/2017      Anwar v. Fulton-Dekalb Hospital             16A60090              Dekalb County, Georgia                    Deposition
03/22/2018      Anwar v. Fulton-Dekalb Hospital             16A60090              Dekalb County, Georgia                    Trial
04/03/2018      Valdez v. Simmons                           140903592             Second District Court, Weber County,      Trial
                                                                                  Utah
08/02/2018      Taylor v. Choe                              2016CV032107          Denver District Court                     Deposition
11/8/2017       Worman v. Healey                            1:17-cv-10107-WGY     Massachusetts District Court              Deposition
12/20/2018      Rupp v. Becerra                             17-cv-00746-JLS-JDE   U.S. District Court for the Central       Deposition
                                                                                  District of California
2/7/2019        Ohlendorf v. Slauson                        2016CV30785           Larimer County District Court, Colorado   Deposition

3/20/2019       Ohlendorf v. Slauson                        2016CV30785           Larimer County District Court, Colorado   Trial

11/5/2021       Perryman v. State of Washington             20-2-07419-5 SEA      Superior Court of Washington for King     Deposition
                                                                                  County
4/28/2022       The City and County of San Francisco,       3:18-cv-7591-CRB-     United States District Court, Northern    Testimony
                California and the People of the State of   JSC                   District of California, San Francisco
                California, acting by and through San                             Division
                Francisco Attorney Dennis J. Herrera v.
                Purdue Pharma L.P., et al.




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